        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 1 of 73




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                    )
                                             )
             Plaintiff,                      )
                                             )
v.                                           )         Case No. CR-18-227-SLP
                                             )
JOSEPH ALLEN MALDONADO,                      )
                                             )
             Defendant.                      )

                                       ORDER

      Before the Court is Defendant Joseph Allen Maldonado’s Motion for New Trial

[Doc. No. 232]. The Government has responded, see [Doc. No. 237], and Defendant has

replied, see [Doc. No. 240]. Despite Defendant’s request, the Court finds a hearing is not

necessary to resolve the Motion. For the following reasons, the Motion is DENIED.

I.    Introduction

      Prior to his arrest, Defendant owned and operated the Greater Wynnewood Exotic

Animal Park, a roadside zoo that was home to dozens of big cats and other exotic

animals. The events leading up to Defendant’s arrest have been well documented, so the

Court need not recite them in detail here. See, e.g., United States v. Maldonado-

Passage, 4 F.4th 1097, 1099 (10th Cir. 2021). On September 5, 2018, a federal grand

jury returned an indictment against Defendant, charging him with two counts of using

interstate commerce facilities in the commission of murder-for-hire, in violation of 18

U.S.C. § 1958(a). See Indictment [Doc. No. 1]. About two months later, the grand jury

returned a 21-count superseding indictment [Doc. No. 24], which—on top of the two
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 2 of 73




murder-for-hire counts—charged Defendant with five counts of illegal taking in violation

of the Endangered Species Act, one count of illegal offering in violation of the

Endangered Species Act, three counts of illegal sale in violation of the Endangered

Species Act, and ten counts of false labeling in violation of the Lacey Act.              The

Government dismissed two of the false labeling counts at trial. See Tr. at 854:2–12.

       Defendant’s seven-day jury trial commenced on March 25, 2019. During its case-

in-chief, the Government called nineteen witnesses, including Allen Glover, the would-be

hitman who occasionally worked at the zoo, 1 and confidential informant James

Garretson.    The defense called four witnesses, including Defendant.             After brief

deliberations, the jury found Defendant guilty on all nineteen remaining counts.

       The Court originally sentenced Defendant to 264 months of incarceration. See

Judgment [Doc. No. 134]. Defendant appealed, and the United States Court of Appeals

for the Tenth Circuit affirmed his conviction but vacated his sentence. See Maldonado-

Passage, 4 F.4th at 1108. On remand, the Court resentenced Defendant to 252 months of

incarceration. See Am. Judgment [Doc. No. 209]. Defendant appealed this sentence on

grounds unrelated to the instant Motion, but the Tenth Circuit rejected his arguments.

See United States v. Maldonado-Passage, 56 F.4th 830, 834–35 (10th Cir. 2022).

Around the time he filed his second appeal, Defendant also moved for a new trial. 2


1
 At trial, Defendant testified that Mr. Glover “made it very clear he wasn’t [Defendant’s]
employee.” Tr. at 953:22–954:4.
2
  Defendant initially sought leave to file a 250-page motion. See [Doc. No. 211]. The Court
denied the request, finding Defendant did not provide adequate justification for such extensive
briefing. See [Doc. No. 213]. Defendant timely re-urged his request and attached his 202-page

                                              2
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 3 of 73




II.    Governing Standard

       “Upon the defendant’s motion, the court may vacate any judgment and grant a

new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). The rule provides

two different time limits. A defendant has three years to bring a “motion for a new trial

grounded on newly discovered evidence,” but a motion seeking a new trial for any other

reason “must be filed within 14 days after the verdict or finding of guilty.” Fed. R. Crim.




proposed brief. See [Doc. No. 214]. The following day—before the Court ruled on his motion—
Defendant filed a 28-page motion for new trial that purported to “incorporate[] and adopt[] all
factual and legal arguments” from the 202-page attachment. [Doc. No. 215] at 5. The Court
struck the new trial motion, recognizing it as an attempt to circumvent the page limit by
incorporation. See [Doc. No. 221]. Instead, the Court ordered the Government to respond to
Defendant’s motion to file an oversized brief. See [Doc. No. 222]. The Government proposed a
50-page limit, but the Court ultimately allowed Defendant to file a 65-page brief. See [Docs. No.
224, 231]. Although he now laments he “cannot possibly outline the significance of every piece
of new evidence . . . within the page limit,” Defendant’s Motion clocks in at just over 61 pages
(excluding his cover page, table of contents, table of authorities, signature block, certificate of
service, and exhibits). Mot. [Doc. No. 232] at 7. It is worth noting that Defendant consistently
omits pinpoint citations to his exhibits—a simple addition that would have streamlined the
Court’s task, clarified his arguments, and complied with his 65-page limit. For example, a single
page of the Motion cites, without particularity: “Exhibits 22, 29, 49, 52, 55, 56, 57, 66, 67, 73,
and 80 . . . Exhibits 21, 25-28, 32, 36, 39-42, 45-48, 50, 58, 60, 63, 72, 82, 94, and 95 . . . [and]
Exhibits 14, 20, 30, 37, 38, 54, 59, 61, 70, 74, 81, 84, 91 and 169.” Id. at 7. To be clear, a
higher page count does correlate with better legal analysis, and the Court is thoroughly
unconvinced that the page limit is to blame for the Motion’s lack of coherent legal arguments.
For example, most Defendant’s arguments are governed by one of two legal standards (Berry
and Brady/Giglio), and many of his claims rely on the same evidence and facts. Rather than
analyzing that evidence within the applicable legal framework, however, Defendant chose to
present a jumbled and repetitive series of conclusory statements. Similarly, this tactic—
articulating the legal standard and presenting a deluge of exhibits, but providing no discussion of
how the cited exhibits satisfy those standards—does not warrant an evidentiary hearing.
Defendant is not entitled to a second opportunity to meet his legal burden simply because he
squandered the first.



                                                 3
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 4 of 73




P. 33(b). Time limits under Rule 33 are “strictly construed.” 3 Herrera v. Collins, 506

U.S. 390, 409 (1993).

         The jury returned its verdict on April 2, 2019, and Defendant filed his Motion on

April 1, 2022. See [Docs. No. 113, 232]. Accordingly, his “new trial request may be

granted only on the basis of newly discovered evidence.” United States v. Quintanilla,

193 F.3d 1139, 1146 (10th Cir. 1999). Defendant’s newly discovered evidence takes

several forms, including recordings and documents, recantation, government misconduct,

and violations of Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405

U.S. 150 (1972); and Napue v. Illinois, 360 U.S. 264 (1959). Although newly discovered

evidence may be used to establish violations of Brady/Giglio and Napue, those claims are

subject to different standards that the remainder of Defendant’s evidence, as detailed

below.

III.     Discussion

         Defendant proffers a litany of evidence to support his new trial motion. The Court

takes each category in turn.

         A.     Newly Discovered Evidence

         A defendant seeking a new trial on the basis of newly discovered evidence faces

an uphill battle. Such motions are “not favorably regarded and should be granted only

with great caution.” United States v. Jordan, 806 F.3d 1244, 1252 (10th Cir. 2015)

3
  While the Court was finalizing this Order, Defendant filed a Second Motion for New Trial
[Doc. No. 246]. This second motion also purports to seek relief under Federal Rule of Criminal
Procedure 33, although it was filed nearly 18 months after the deadline set forth in Rule 33(b)(1).
Defendant makes no attempt to explain why the Court has authority to consider his untimely
second Motion, so the Court DENIES it without further comment.

                                                4
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 5 of 73




(quoting United States v. McCullough, 457 F.3d 1150, 1167 (10th Cir. 2006)).            In

conducting its analysis, the Court begins with “the presumption that the verdict against

the defendant is valid.” United States v. Velarde, 860 F. App’x 132, 137 (10th Cir. 2021)

(quoting 3 Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure

§ 581 (4th ed., Oct. 2020 update)).

       When a new trial motion relies on newly discovered evidence, the Court applies

“the so-called Berry rule, derived from Berry v. Georgia, 10 Ga. 511 (1851).” United

States v. Jackson, 579 F.2d 553, 557 (10th Cir. 1978). Under this five-part test, a

defendant has the burden to prove:

       (1) the evidence was discovered after trial, (2) the failure to learn of the
       evidence was not caused by [his] own lack of diligence, (3) the new
       evidence is not merely impeaching, (4) the new evidence is material to the
       principal issues involved, and (5) the new evidence is of such a nature that
       in a new trial it would probably produce an acquittal.

Jordan, 806 F.3d at 1252 (alteration in original) (quoting McCullough, 457 F.3d at 1167).

A defendant’s proffered evidence must also be admissible. United States v. Hill, 737

F.3d 683, 687 (10th Cir. 2013).

       Although Defendant faces a substantial hurdle to show that newly discovered

evidence entitles him to a new trial, he makes only a perfunctory attempt to satisfy his

burden. For the most part, Defendant’s Motion does not engage with the five Berry

elements, cite exhibits with particularity, identify which of the nineteen counts (or their

elements) are implicated by each piece of newly discovered evidence, or highlight trial




                                            5
           Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 6 of 73




testimony or evidence which is undermined by his newly discovered evidence. 4

Accordingly, none of his allegations, whether taken individually or collectively, warrant a

new trial.

                 1.      James Garretson’s Undisclosed Recordings 5

          During the criminal investigation into Defendant, Mr. Garretson acted as a

cooperating individual for the U.S. Fish and Wildlife Service (“USFWS”). See Def.’s

Ex. 7 [Doc. No. 232-7]. 6          In this capacity, he worked closely with USFWS Agent

Matthew Bryant. Agent Bryant gave Mr. Garretson a recording device so he could

capture phone calls with Defendant, Jeff Lowe, and anyone else who may be relevant to

the investigation. See Tr. at 552:16–25. Mr. Garretson also used “an app on his phone”

to record calls. Id. at 553:8–18. When asked at trial whether he gave Agent Bryant “all

the conversations that [he] w[as] able to record,” Mr. Garretson testified that he had. Id.

at 553:23–25.

          But an investigation by Defendant’s post-conviction counsel revealed that Mr.

Garretson recorded a plethora of calls that he kept to himself. 7 Defendant has attached



4
    When this is not the case, the Court specifically identifies as much.
5
  Because the Court addresses the alleged Brady violations related to the recordings below, those
arguments are not included here.
6
 Defendant filed some of his exhibits conventionally, so his exhibit numbers do not always
match the CM/ECF numbering. For clarity, the Court provides both citations.
7
 Defendant contends his post-conviction counsel “discovered four hundred and seventeen (417)
previously undisclosed recordings of phone calls . . . [and] two hundred and sixty-six calls which
contained zero (0) data.” Mot. [Doc. No. 232] at 10.



                                                   6
           Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 7 of 73




transcripts of nearly 100 calls to his Motion. 8 These transcripts reflect calls that Mr.

Garretson recorded between February 2, 2019 and April 3, 2019, none of which were

previously provided to Defendant’s trial counsel.               With respect to these transcripts,

Defendant contends:

          Each of the calls presented within this motion document different aspects of
          misconduct. A single recording may have several issues that warrant
          investigation. The undersigned cannot lay out the importance of each call
          due to page constraints, but they are attached hereto and must be viewed in
          their entirety.

Mot. [Doc. No. 232] at 9 n.1. 9 To the extent Defendant asks the Court to comb the record

and craft arguments he did not make, the request is improper. See United States v.

Dunkel, 927 F.2d 955, 956 (7th Cir. 1991) (“Judges are not like pigs, hunting for truffles

buried in briefs.”), cited with approval in United States v. Griebel, 312 F. App’x. 93, 97

(10th Cir. 2008). Similarly, in reply, Defendant insists “[t]he Court must listen to the

recordings and/or read the transcripts to understand the materiality of the information

contained therein.” Reply [Doc. No. 240] at 2–3. But the burden to prove materiality

belongs squarely to the Defendant, and any attempt to shift this burden is improper. The

Court will therefore consider only the arguments identified and presented in the briefing.

          Similarly, several arguments that implicate the recordings are too vague and

conclusory for the Court to meaningfully analyze. For example, the Motion contains the

following verbatim arguments, which include neither pinpoint citations to exhibits nor

further legal analysis:

8
    Not all of the transcripts are cited or discussed in the Motion.
9
    Citations to the parties’ briefs and exhibits reflect the CM/ECF pagination.

                                                    7
           Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 8 of 73




      • [T]he content of the recordings demonstrates that during the criminal
        investigation and trial 1) Garretson lied to government agents regarding
        aspects of the criminal investigation (See Exhibits 15, 23, and 59.); 2)
        Garretson conspired with the federal government to lie about aspects of the
        criminal investigation (See Exhibits 17, 24, and 27.); 3) Garretson
        conspired with the federal government to intentionally suppress relevant
        and exculpatory recordings (See Exhibits 15-19.); 4) Garretson conspired
        with agents for the government to “twist” testimony (See Exhibit 19 and
        31.); 5) Garretson conspired with law enforcement to fabricate evidence
        (See Exhibits 15-19.); 6) Garretson conspired to murder Lowe (See Exhibits
        14 and 144.); 7) Garretson engaged in crimes involving identity theft (See
        Exhibits 90, 96, 98, 99, and 100.); 8) Garretson planned to use recordings
        captured during the investigation to discredit a potential defense witness
        (See Exhibits 25, 26, and 32.); and 9) Garretson planned to lie during the
        criminal trial. (See Exhibits 21, 40, 43, 48, 60, 68 and 69.) 10

      • The recordings demonstrate 1) the federal government, including Bryant,
        knew undisclosed recordings and messages existed (See Exhibits 15-19, 26,
        and 50.); 2) how Bryant circumvented due process by instructing a
        confidential informant and other witnesses for the government to lie about
        aspects of the criminal investigation (See Exhibits 24 and 37.); 3) how
        Bryant willfully refused to collect relevant evidence (See Exhibits 15-19.);
        4) how Bryant instructed a witness to fabricate evidence (See Exhibits 15-
        19.); and 5) how Bryant used one of the undisclosed recordings as a
        weapon to exclude a potential defense witness. (See Exhibits 14-19.)

          • The recordings of Goode 11 (hereafter “Goode”) were directly relevant to
          the issues of the criminal investigation into [Defendant], acts of perjury,
          trial strategy and collusion of witnesses. Specifically, how Garretson,
          Lowe, Lauren Lowe and others conspired to set up [Defendant]. (See
          Exhibits 22, 29, 49, 52, 55, 56, 57, 66, 67, 73, and 80.)

          • The recordings of Malagerio 12 were directly relevant to the issues of the
          criminal investigation into [Defendant]. Malagerio was an unofficial
          cooperating witness for the government under the direction of Bryant. (See

10
   This paragraph alone cites 27 exhibits spanning 352 pages without pinpoint citations or
highlights.
11
     Eric Goode is a Tiger King producer. See Def.’s Ex. 162 [Doc. No. 232-159] at 31.
12
  Paul Malagerio is an exotic animal keeper and associate of Mr. Garretson. See Def.’s Ex. 28
[Doc. No. 232-128] at 1–2.

                                                 8
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 9 of 73




       Exhibit 28.) The discussions captured in the calls between Malagerio and
       Garretson were centered around the criminal investigation of [Defendant]
       and life after. Specifically, perjury, manipulation and fabrication of
       evidence, witness threats, trial strategy, and other exonerating information.
       (See Exhibits 21, 25-28, 32, 36, 39-42, 45-48, 50, 58, 60, 63, 72, 82, 94,
       and 95.)

       • Garretson’s own admissions captured on these recordings regarding
       twisting testimony and planning testimony with the intent to misrepresent
       the facts are material and relevant to the criminal case, specifically
       [Defendant]’s innocence. (See Exhibits 17, 19, 31, 37, 43, 48, 715, 78, 79,
       and 87.) Had the jury known of this, Garretson’s credibility would have
       been destroyed and the true motive for Glover’s fake ID would have been
       called into question, directly undermining the verdict.

[Doc. No. 232] at 10–12, 16 (all emphasis in original). Defendant makes no attempt to

demonstrate how any of this information could be used for anything other than its

impeachment value. Nor does he detail how the “evidence is material to the principal

issues involved.” Jordan, 806 F.3d at 1252. He does not identify a specific count—let

alone a particular element—to which any of this evidence would pertain. Finally, he

makes no credible argument that the evidence “would probably produce an acquittal.” Id.

Defendant’s inattention to every element of the relevant legal analysis necessarily means

he has not satisfied his burden under the five-part test. Accordingly, he is not entitled to

a new trial on the above points.

       But Defendant presents a handful of arguments about the recordings that warrant

further discussion. First, he claims Agent Bryant “attempt[ed] to have [Jeff] Johnson, an

exculpatory witness, excluded from testifying at trial.” 13 Mot. [Doc. No. 232] at 12. As


13
  Defendant references Mr. Johnson’s purported exclusion several times throughout his Motion.
See Mot. [Doc. No. 232] at 11–12, 14–15, 30, 32, 61, 63. Because this claim lacks credibility,
the Court disposes of the argument summarily.

                                              9
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 10 of 73




an initial matter, there is no evidence in the record that the defense intended to call Mr.

Johnson as a witness, or that the prosecution attempted to exclude him. 14               The

prosecution never moved to exclude Mr. Johnson, nor—contrary to Defendant’s

assertions—did the Court bar Mr. Johnson’s testimony. See Mot. [Doc. No. 232] at 63

(referencing “the [C]ourt’s decision to exclude Johnson as a witness”). And even if there

was some indicia of truth to Defendant’s accusation, he provides no analysis under the

applicable legal standard. Defendant does not even specify what Mr. Johnson would

have testified about, let alone how his testimony would have satisfied any of the Berry

elements.

       Defendant next cites a flurry of exhibits “that demonstrate Garretson was actively

involved in identity theft crimes during the criminal investigation” into Defendant. Mot.

[Doc. No. 232] at 16 (citing Def.’s Exs. 3, 51, 54, 90–91, 96, 98–100, 161). Again,

Defendant does not analyze this evidence within the five-step framework governing

newly discovered evidence. At best, he argues this evidence would have “destroyed” Mr.

Garretson’s credibility and “call[ed] into question” the “true motive for Glover’s fake

ID.” Id. But evidence which is offered for its impeachment value is insufficient to

warrant the relief Defendant seeks. See Jordan, 806 F.3d at 1252.

       Mr. Garretson also claims that prosecutors “used a confidential informant to

covertly obtain information regarding trial defense counsel’s planned defense strategy.”

Mot. [Doc. No. 232] at 15. But the cited recording shows that the prosecution “didn't get

14
  To the contrary, Mr. Johnson claimed defense counsel told him “they didn’t think that [he]
would need to testify.” Def.’s Ex. 20 [Doc. No. 232-20] at 2; see also Def.’s Ex. 21 [Doc. No.
232-21] (“So Jeff Johnson is not testifying for Joe. His lawyers don't want him to.”).

                                             10
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 11 of 73




anything really good” from this tactic because Mr. Johnson “didn't know anything that's

really pertinent for them.” Def.’s Ex. 21 [Doc. No. 232-21] at 2. Accordingly, it is

unclear how this evidence entitles Defendant to a new trial under the applicable legal test.

       In addition to the deficiencies with respect to the Berry analysis, the Government

argues the transcripts are inadmissible hearsay. See Resp. [Doc. No. 237] at 27–28

(citing Fed. R. Evid. 801(c)). In reply, Defendant counters that the recordings are not

hearsay because “[t]hey are Mr. Garretson’s own statements recorded on his own phone

from which authenticity has not been called into question by the government.” Reply

[Doc. No. 240] at 2. Hearsay, as defined by Federal Rule of Evidence 801(c), is “a

statement that: (1) the declarant does not make while testifying at the current trial or

hearing; and (2) a party offers in evidence to prove the truth of the matter asserted in the

statement.” Mr. Garretson’s recordings obviously contain out-of-court statements. It is

impossible to analyze the statements under Rule 801(c)’s second prong, however,

because Defendant does not identify any statement with particularity or specify the

purpose for which it would be offered. Accordingly, Defendant has failed to carry his

burden to prove that the recordings entitle him to relief under the Berry test.

              2.     Mr. Garretson’s Perjury

       Defendant proffers several pieces of evidence that purportedly show Mr. Garretson

committed perjury. 15 First, he claims that Mr. Garretson testified that he cooperated with


15
   Although the Government analyzed each of these allegations as Napue claims, the Court finds
it unnecessary to do so where Defendant has not alleged one of the essential elements of Napue
claims—that “the prosecution knew the testimony to be false.” United States v. Garcia, 793
F.3d 1194, 1207 (10th Cir. 2015). Instead, the Court analyzes the perjury accusations as newly

                                             11
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 12 of 73




the investigation because it was “[j]ust the right thing to do at the time.” Tr. at 552:14–15.

Defendant now claims his newly discovered evidence shows Mr. Garretson’s true

motivations were “money, revenge and a hatred of [Defendant]’s sexuality.” Mot. [Doc.

No. 232] at 17. But he provides no analysis on how this evidence would be more than

merely impeaching, which is insufficient to warrant a new trial.

       Next, he claims Mr. Garretson perjured himself with respect to his relationship

with Carole Baskin—the target of the two murder-for-hire plots. At trial, he testified that

he never met Mrs. Baskin and was unsure if she had ever complained about his facility.

Tr. at 530:4–11. But Defendant claims newly discovered evidence reveals he “had a

hatred for Baskin” because she played a role in having his USDA license revoked, and

that his hatred “carries on to present.” Mot. [Doc. No. 232] at 18. Beyond the bare

assertion that “Garretson’s relationship with the victim, Carole Baskin, is relevant to the

principal issues of the criminal case,” Defendant makes no attempt to analyze this new

evidence in the Berry framework. In particular, Defendant fails to establish how this

evidence would be anything more than impeaching.

       At trial, Mr. Garretson testified about an August 2017 conversation that took place

in the zoo’s office, which Defendant refers to as the “bike path” conversation. See Tr. at

547:20–549:3; Mot. [Doc. No. 232] at 18–19. Mr. Garretson testified that he, Defendant,

and former zoo owner Jeff Lowe were present for the conversation. Defendant has now

presented evidence that Mr. Garretson’s girlfriend, Brittany Medina, was also there.

discovered evidence, which is how Defendant characterizes them. In three instances, Defendant
specifically claims that the Government knew about Mr. Garretson’s perjured testimony and let it
stand uncorrected. The Court considers each of those Napue claims below.

                                              12
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 13 of 73




Because Defendant claims the Government knowingly allowed Mr. Garretson to present

false testimony, the Court analyzes this evidence as a Napue claim below.

      Defendant then argues that Mr. Garretson’s testimony “about why [Defendant]

would think he knew where to get a fake ID” was false. Id. at 20. Mr. Garretson’s

testimony on direct examination was:

      Q. And finally, did Mr. Passage at the time—in the fall of 2017, did he
      know that you had owned strip clubs in Dallas, or a strip club in Dallas?

      A. I assume, yes.

      Q. And did he know that you had owned bars in Dallas?

      A. Yes.

      Q. And to your understanding, is that why Mr. Passage thought you might
      know where to get a fake ID?

      A. Correct.

Tr. at 608:6–14.    Citing several exhibits, Defendant now accuses Mr. Garretson of

“actively engag[ing] in identity theft crimes” throughout the investigation. Mot. [Doc.

No. 232] at 20. As an initial matter, Mr. Garretson did not perjure himself when he was

asked about why he thought Defendant believed “[Mr. Garretson] might know where to

get a fake ID.” Tr. at 608:6–14. There is no indication that Defendant knew about any of

Mr. Garretson’s purported identity theft during the investigation, so the newly discovered

evidence would not change the answer to this question. More importantly, however,

Defendant provides no analysis under the Berry elements. He relies on the conclusory

statement that “[t]he government used testimony regarding the fake ID together with

testimony regarding the mailing of the cell phone to ‘establish the elements needed to



                                           13
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 14 of 73




prove the use of interstate commerce in the commission of a murder for hire.’” 16 Mot.

[Doc. No. 232] at 20. He also believes the evidence “connects Garretson to Lowe and

confirms their co-participation in fraudulent credit card schemes.” Id. But Defendant

does not explain why this evidence would have probably produced an acquittal had it

been introduced at trial. First, the jury knew that Mr. Garretson had connections to obtain

a fake ID, so the impact of additional evidence of identity theft is unclear. 17 Second,

Defendant alleges that Mr. Garretson used one of his aliases to rent Mr. Lowe’s Las Vegas

residence. See Def.’s Ex. 64 [Doc. No. 232-64]. The rental agreement is dated several

months before Mr. Garretson began cooperating with the Government, however. See

Def.’s Ex. 7 [Doc. No. 232-7] at 3. Defendant has not explained how this fact would

have impacted any of the evidence at trial, and the Court declines to speculate.

          At trial, Mr. Garretson also testified that between December 2017 and January

2018, “there [we]re some calls [with Mr. Lowe] that were not recorded due to problems

[Mr. Garretson] was having with the phone.” Id. at 21. Defendant now points to a post-

conviction interview in which Mr. Garretson said he “deleted a lot of Jeff’s calls and stuff

where we’re talking about liquidation loads” and that he deleted calls that he “didn’t

think [] w[ere] relevant.” Def.’s Ex. 9 [Doc. No. 232-9] at 3. First, the Court is not

convinced that Mr. Garretson’s new statement is perjurious, as both statements could be


16
   Although Defendant cites Exhibit 107, the quoted material in the previous sentence—
“establish the elements needed to prove the use of interstate commerce in the commission of a
murder for hire”—appears nowhere in the 106-page exhibit. The Court admonishes Defendant
that his use of the “see” citation before this quote is at best confusing, and at worst misleading.
17
     Additionally, Defendant could not rely on this evidence for its impeachment value alone.

                                                 14
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 15 of 73




true. Again, Defendant offers no analysis as to why he is entitled to a new trial on this

basis. To the extent he would rely on this evidence for its impeachment value, that

approach would fail under Berry.

        Mr. Garretson also testified about purchasing four tiger cubs from Defendant. At

trial, he claimed to believe the purchases were legal because they were conducted in-

state. See Tr. at 533:2–536:9. Defendant now claims Mr. Garretson committed perjury,

but none of the evidence he cites indicates that Mr. Garretson’s trial testimony was false.

Indeed, Defendant’s evidence appears to corroborate Mr. Garretson’s testimony. See

Def.’s Ex. 110 [Doc. No. 232-110] at 13 (“Terry’s Taxidermy stuffed and displayed these

two tigers. The owner, Terry Mayberry, says he acquired them from an Oklahoma animal

park.   Because both businesses are in the same state—and the animals were not

transported across state lines—this exchange was not prohibited by the Endangered

Species Act.”). Although Defendant lobs multiple accusations at Ringling Animal Care,

Mr. Garretson’s former cub-petting operation, none of that evidence pertains to the four

cub sales that were the subject of Mr. Garretson’s testimony.

        Mr. Garretson also testified that in the fall of 2017, no one outside of law

enforcement knew about his cooperation with the Government. See Tr. at 556:19–25.

Defendant has now presented evidence that several other people knew about Mr.

Garretson’s involvement, and that the “government knew this statement made under oath

was false.” Mot. [Doc. No. 232] at 21. Because this is a Napue claim, the Court

addresses it below.




                                            15
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 16 of 73




       Finally, Defendant makes two conclusory statements that merit little attention

from the Court. At trial, Mr. Garretson testified that he “provided some credit for dental

work” to former zoo employee Dylan West, and that the credit was legal. Tr. at 599:9–

21. Defendant now claims this testimony is “false” in light of the “evidence of on-going

participation in criminal identity theft described above together with testimony provided

by Reinke regarding Garretson’s fraudulent use of medical credit.” Mot. [Doc. No. 232]

at 20–21. Defendant also claims Mr. “Garretson testified he did not have a financial

interest in getting rid of [Defendant],” but newly discovered evidence “exposed

Garretson’s plans to corner the cub petting market once [Defendant] was safely behind

bars.” Id. at 22. Defendant offers no further detail or analysis related to either of these

contentions, so it is unnecessary for the Court to address them further.

       Defendant ends this section of his Motion with a description of Mr. Garretson’s

testimony in the context of the entire trial, claiming:

       Garretson provided uncorroborated eye-witness testimony regarding
       alleged crimes associated with Counts 1 and 2 of the Superseding
       Indictment. Garretson’s testimony provided context to the recordings of
       [Defendant] and Glover. Some of the recordings he provided, had no
       mention of names, dates, places or even what the speaker was talking
       about. Garretson’s testimony filled in those blanks. Garretson has admitted
       that he could have been planning his own murder for hire. (See Exhibit 9
       and 49.)

Id. Similarly, he argues Mr. Garretson provided necessary context to the second murder-

for-hire plot when he testified about references to the undercover FBI agent. See id. at

22. Defendant appears to be arguing that the cumulative effect of his perjury allegations

is so damaging that the Court must disregard Mr. Garretson’s testimony entirely and,



                                              16
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 17 of 73




therefore, order a new trial. But this argument is not procedurally proper, because newly

discovered evidence under Rule 33(b) cannot be “merely impeaching.” Jordan, 806 F.3d

at 1252. And even if this were not the case, most of Defendant’s perjury accusations lack

merit when the trial testimony and evidence are viewed side-by-side, as detailed above.

              3.     Recanted Testimony

       Defendant claims that two Government witnesses have recanted their trial

testimony. Although this is still newly discovered evidence, its consideration requires a

slightly different approach. First, “recantation of prior trial testimony ‘is not looked upon

with favor,’ but rather with ‘downright suspicion.’” United States v. Jones, 315 F. App’x

714, 716 (10th Cir. 2009) (quoting United States v. Ahern, 612 F.2d 507, 509 (10th Cir.

1980)). Second, “[w]hen the motion is based on recanted testimony, the trial court must

first be satisfied that the challenged testimony was actually false.” United States v.

Bradshaw, 787 F.2d 1385, 1391 (10th Cir. 1986). To make this determination, the Court

“ordinarily must conduct an evidentiary hearing to evaluate both the credibility and the

impact of a recantation.” United States v. Page, 828 F.2d 1476, 1478 (10th Cir. 1987).

This is not always the case, however. If the “written record allows a district court judge

to make credibility findings (and for [the Tenth Circuit] to evaluate such findings), no

evidentiary hearing is necessary.” Jones, 315 F. App’x at 716 (citing United States v.

Pearson, 203 F.3d 1243, 1274–75 (10th Cir. 2000)). Upon careful consideration of both

the affidavits and the trial record, the Court concludes no evidentiary hearing is warranted

in this case. Instead, the trial record provides a sufficient basis to reject Defendant’s

recantation arguments.


                                             17
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 18 of 73




       a. Allen Glover

       First, Defendant contends Mr. Glover, who testified extensively about the first

murder-for-hire plot, has recanted his trial testimony. Defendant proffers four instances

of recantation. See Mot. [Doc. No. 232] at 24–25. First, Mr. Glover testified at trial that

Defendant offered to pay him in exchange for killing Mrs. Baskin. See Tr. at 623:20–24.

He now claims that he “stole $3,000 from [Defendant].” 18 Def.’s Ex. 112 [Doc. No. 232-

112] ¶ 21.     First, it is not clear that Mr. Glover has recanted his trial testimony.

Throughout trial, he consistently maintained that he took the money with no intention

actually killing Mrs. Baskin. For example, on direct examination, Mr. Glover testified:

       Q. So over the course of those conversations, did you tell Mr. Passage that
       you would murder Carole Baskin if he paid you to do it?

       A. Yes, ma’am, I did.

       Q. At the time that you told him that, did you intend to actually go kill
       Carole Baskin?

       A. No, ma’am.

       Q. What did you actually intend to do?

       A. Take his money and run.

       Q. Okay. And why would you want to take his money and run?

       A. Because the way he treated me and the employees and the way he acted,
       I was ready to get away from there . . . .

Tr. at 626:8–19. Indeed, on cross-examination, he testified that he stole the money. See

id. at 694:2 (“I didn’t realize I made a mistake on stealing that money.”). Mr. Glover has

18
   As set forth in his affidavit, Mr. Glover now claims: “I testified at trial that this $3,000 came
from the cub sale on November 24, 2017. This is not accurate as I have no knowledge of the
park finances and have no knowledge of where the $3,000 came from that I stole.” Def.’s Ex.
112 [Doc. No. 232-112] ¶ 22.

                                                18
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 19 of 73




continued to aver that he took the money without any intention to follow through on the

murder. See, e.g., Def.’s Ex. 112 [Doc. No. 232-112] ¶ 25; Def.’s Ex. 123 [Doc. No.

232-123] at 2; Govt.’s Ex. 28 [Doc. No. 237-28] at 43–44. But even reading this

statement in the way Defendant does, the Court is not convinced Mr. Glover’s trial

testimony is false. There is overwhelming corroborating evidence in the record that

Defendant paid Mr. Glover $3,000—particularly, his own words.                For example, he

testified at trial that he gave Mr. Glover $3,000 from the night deposits at Mr. Lowe’s

direction. Tr. at 1004:3–14. On a recorded phone call, Defendant told Mr. Garretson that

he was “waiting on this lady to get this money for these liligers cause that is what [he is]

paying for it with.” Govt.’s Ex. 2 [Doc. No. 237-2] at 1. Ten days later, Mr. Garretson

asked Defendant: “You gonna ever send that guy today or is he ever gonna go down there

or you just gotta wait for money?” Govt.’s Ex. 5 [Doc. No. 237-5] at 1. Defendant

responds: “I’m figuring that money’ll come in today. Then he’s gone.” Id. Accordingly,

to the extent that Mr. Glover has recanted his trial testimony, the evidence already in the

record permits the Court to conclude that the recantation is not credible.

       Second, Defendant claims Mr. Glover recanted trial testimony that the $3,000

payment came from a November 24, 2017 cub sale. Although the Government claims

Mr. Glover never directly made this claim, the Government is mistaken. On direct

examination, Mr. Glover testified:

       Q. Okay. So you testified that he did eventually give you some money.
       Where did Joe get the money?

       A. From selling that liliger.



                                             19
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 20 of 73




       Q. Were you there when he sold the liliger?

       A. Yes, ma’am. I’m—I was the one who went to the play area to get it.

       Q. And did you physically pick up the animal?

       A. Yes, ma’am, I did.

       Q. And what did you do with it?

       A. Took it out to the back parking lot so the deal could be done.

       Q. Did you put the cub in the car?

       A. Yeah. I handed it to the man and pretty—yeah, pretty much put it in the
       car.

       Q. Did you see the person who was leaving with the cub?

       A. Yes, ma’am. I didn't meet him, but I saw him.

Tr. at 637:4–19. At trial, Mr. Glover identified Robert Engesser as the man who picked

up the cub in question. See id. at 684:3–685:6; 882:11–13. The existing record again

permits the Court to make a credibility determination with respect to this recantation, but

this time the Court draws the opposite conclusion. There is strong, consistent evidence in

the record that the money at issue did not come from the cub sale that Mr. Glover

described. At trial, Agent Bryant expressed doubts that the money came from Mr.

Engesser purchasing a cub. See id. at 909:4–9. And in private, Agent Bryant told the

Lowes that he “d[idn’t] believe it was Engesser” who “showed up that day” and “got that

liger.” Def.’s Ex. 128 [Doc. No. 232-128] at 14–15. Indeed, Mr. Engesser himself

provided credible testimony that he was not in Wynnewood at any time in November

2017. Tr. at 883:20–22.




                                            20
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 21 of 73




       Nevertheless, this recantation does not warrant the relief Defendant seeks. First,

Defendant does not explain why the jury would have probably acquitted had they known

a cub sale to Mr. Engesser was not the source of the $3,000. Indeed, the jury heard much

of this evidence at trial and still convicted. Most importantly, however, Defendant makes

no attempt to explain how Mr. Glover’s recantation, when viewed in conjunction with

Defendant’s own statements, would have probably changed the outcome of his trial.19

Accordingly, this recantation does not entitle Defendant to a new trial.

       The third recantation involves Mr. Glover’s personal cell phone. At trial, he

testified that Defendant asked Mr. Glover for his personal cell phone at the same time the

$3,000 changed hands. Tr. at 641:22–642:6. In his affidavit, Mr. Glover now claims that

“Jeff Lowe instructed [Mr. Glover] to give [his] phone to [Defendant] and ask him to

mail it to Jeff’s Las Vegas address.” Def.’s Ex. 112 [Doc. No. 232-112] ¶ 28. Again,

Mr. Glover has not clearly recanted his testimony because both his trial testimony and his

new assertion could be—and likely are—true. On a recorded phone call, Defendant told

Mr. Garretson:

       Yeah, what I am doing is having him buy a go-phone down there and Jeff is
       buying a go-phone so they can communicate and then throw them away.
       And we are going to over-night his phone to Vegas and Jeff is gonna text
       pictures every once in a while back to the staff so that way his phone
       registers in Vegas.

Govt.’s Ex. 2 [Doc. No. 237-2] at 1. This statement provides credible evidence that

Defendant and Mr. Lowe had planned for Mr. Glover to leave his phone in Wynnewood

19
   In analyzing the Giglio claim related to Mr. Glover, discussed infra, the Court details how
Defendant’s own testimony provides overwhelming evidence of his guilt with respect to each
element of the first murder-for-hire count.

                                             21
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 22 of 73




before he headed east. His trial testimony (that Defendant asked for his phone) and his

new assertions (that Mr. Lowe told Mr. Glover to leave his phone) are both entirely

consistent with the evidence in the record. 20 Accordingly, the new statement does not

provide the foundation for a new trial. 21

          The final recantation involves the “pizza phone” that Mr. Glover took with him

after he left the zoo. 22 At trial, he testified that Defendant gave him “a pizza restaurant

phone” that “belonged to the park.” Tr. at 642:16–18. Mr. Glover has now recanted that

testimony, claiming that he actually stole the pizza phone. As set forth in his affidavit,

Mr. Glover asserts: “[Defendant] did not give me the phone assigned to the Pizzeria. I

took the phone from a recently fired employee named AJ.” Def.’s Ex. 112 [Doc. No.

232-112] ¶ 27. Upon review of the evidence in the record, the Court finds the recantation

to be credible. First, Mr. Lowe sent a text message to Defendant on December 5, 2017

that said: “Fucking Allen [Glover] stole the pizza phone.” Def.’s Ex. 114 [Doc. No. 232-

114] at 2. One day later, Mr. Glover texted zoo employee Kelci Saffrey 23 from the pizza


20
   Nobody disputes the fact that Mr. Glover left his phone at the zoo before he left. Indeed,
Defendant testified that “after [he] gave Alan the money . . . [Mr. Glover] walk[ed] over into the
office and he la[id] his cell phone on the desk . . . [a]nd he sa[id], here, we’re supposed to mail
this to Jeff.” Tr. at 1005:5–12
21
   Additionally, Defendant makes no attempt to explain why the statement probably would have
compelled a different outcome. Indeed, the Court is confident that the new statement would not
probably have resulted in an acquittal because it is entirely consistent with the evidence already
in the record.
22
     The Court, like the attorneys at trial, refers to this device as the “pizza phone.”
23
   Although the contact is labeled as “newest best friend,” both parties appear to agree that the
text was sent to Kelci Saffrey. See Mot. [Doc. No. 232] at 24; Resp. [Doc. No. 237] at 38.



                                                    22
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 23 of 73




phone: “The phone I got AJ said it was hers that’s the f****** pizza restaurant phone Joe

called me today asking who is this how’s the f*** is Alan he’s just a pizza restaurant on

telephone s*** I got to phone damn.” 24 Def.’s Ex. 115 [Doc. No. 232-115] (spelling and

punctuation in original). That same day, Mr. Glover received a text from Cheryl Ann

Maldonado, which read, “I know who’s phone you found. . . . I do believe it is AJ’s. . . .

Heard Joe telling to someone bout it today. . . . Joe told [AJ] someone who used to live

there took it.” Id. (spelling and punctuation in original). All three of these messages

provide credible, contemporaneous evidence that Mr. Glover stole the pizza phone, and

not—as he testified at trial—that Defendant gave him the phone.

       Nevertheless, this recantation does not entitle Defendant to a new trial because it

would not probably produce an acquittal. To convict on the first murder-for-hire count,

the jury had to find beyond a reasonable doubt that, inter alia, Defendant “either (i)

traveled in or caused another person to travel in interstate commerce or (ii) used or

caused another person to use the mail or any facility of interstate commerce.” Jury

Instructions [Doc. No. 114] at 31.      The jury was further instructed that “a cellular

telephone is a ‘facility of interstate commerce.’” Id. Defendant does not address Mr.

Glover’s unchallenged testimony that Defendant used the pizza phone—a facility of

interstate commerce—to take photos of Mrs. Baskin, which he had pulled up on his

computer “so [Mr. Glover] wouldn’t kill the wrong person.” Tr. at 642:21–643:5. Nor

does the recanted testimony impact Defendant’s statement that he and Mr. Lowe planned


24
   As discussed during the trial, Mr. Glover sends most of his text messages using “dictation
software on his phone” because his “ability to read is very limited.” Tr. at 612:18–19.

                                             23
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 24 of 73




to mail Mr. Glover’s phone to Las Vegas, despite the fact that this act would also satisfy

the interstate commerce element.           See Govt.’s Ex. 2 [Doc. No. 237-2] at 1.             And

Defendant does not even attempt to explain how the testimony would probably produce

an acquittal in light of the extensive, credible evidence that Defendant caused Mr. Finlay,

Mr. Glover, and Mr. Garretson to travel to Dallas to obtain a fake ID. 25 Accordingly, this

recantation does not entitle Defendant to a new trial.

          b. Lauren Lowe

          Defendant next claims that Jeff Lowe’s wife, Lauren, recanted two statements she

made at trial. Both recantations involve Mrs. Lowe’s testimony that she received a

package in the mail shortly after Thanksgiving 2017. Tr. at 712:15–24. She testified that

the package, which was sent from the zoo and addressed to Jeff Lowe, contained a cell

phone and a charger. 26 Id. at 712:25–713:14. On cross-examination, Mrs. Lowe testified

that the package included a phone, a charger, and nothing else. Id. at 723:15–22.

          First, Mrs. Lowe now claims she “can not say for certain that the package . . .

contained Frank Allen Glover’s phone.” Def.’s Ex. 133 [Doc. No. 232-132] ¶¶ 15–16.

The evidence in the record permits the Court to conclude that Mrs. Lowe’s trial testimony

about the inclusion of the phone is not false. Her contention that she cannot now be

certain that the package contained Mr. Glover’s phone does not actually conflict with her




25
  This evidence, which is pertinent to one of Defendant’s Giglio claims, is discussed in detail
below.
26
     As discussed below, other evidence at trial indicated this phone belonged to Mr. Glover.

                                                 24
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 25 of 73




trial testimony. 27 Cf. United States v. DiPaolo, 659 F. Supp. 120, 122 (W.D.N.Y. Apr.

17, 1987), aff’d, 835 F.2d 46 (2d Cir. 1987) (“The ‘recantation’ is not in fact a

recantation but a statement of lack of present recollection.”). Additionally, Defendant’s

own trial testimony supports Mrs. Lowe’s original account.           When asked what his

“participation was with respect to this cell phone allegedly being mailed to Mr. Lowe,”

Defendant answered:

       After — after I gave Alan the money, a couple hours later he walks over
       into the office and he lays his cell phone on the desk, and to this day I
       swear it didn’t have a charger. It was just a cell phone. And he says, here,
       we’re supposed to mail this to Jeff. And I carried it in, and I give it to
       Brenda because I didn’t have his address. And I said, Brenda, Jeff wants
       you to mail this cell phone to him. And that was the end of it.

Tr. at 1005:2–12. Because the Court is satisfied that Mrs. Lowe’s trial testimony is

truthful, her affidavit does not entitle Defendant to a new trial.

       Second, Mrs. Lowe has recanted her trial testimony that the package she received

included a phone, a charger, and nothing else. Id. at 723:15–22. As set forth in her

affidavit, she now claims the envelope “contained a summons from PETA regarding Tim

Stark.” Def.’s Ex. 133 [Doc. No. 232-132] ¶ 15. This assertion is supported by a text

exchange with her husband the day after the package arrived. She texted him: “Hey, that

package arrived today.      I [sic] had a Peta summons to produce evidence re: Tim

Stark. . . .” Def.’s Ex. 136 [Doc. No. 232-135]. Mr. Lowe replied, “peta knows my



27
   As the Government points out, Mrs. Lowe would be “unavailable” under Federal Rule of
Evidence 804(a)(3) because she now claims she does not remember whether the envelope
contained the phone. Accordingly, her earlier statement about Mr. Glover’s phone could be
introduced to prove the truth of the matter asserted because it was testimony she gave “as a
witness at a trial.” Fed. R. Evid. 804(b)(1)(A).

                                              25
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 26 of 73




address in vegas. Wonder why they sent it to the park.” Id. Mrs. Lowe told her husband

the summons “came in a certified envelope, so someone there must have signed for it.”

Id.   Similarly, Postal Inspector Brian Hess testified that the package scheduled for

delivery to the Lowes on November 27, 2018 weighed 4 pounds, 14 ounces,

corroborating her assertion that the package contained another item. Tr. at 731:19–732:7.

Accordingly, the recantation is credible with respect to Mrs. Lowe’s testimony that the

envelope contained nothing other than the phone and charger.             Nevertheless, this

recantation does not warrant a new trial under the five-part Berry test. Defendant makes

no argument as to why the presence of the summons was “material to the principal issues

involved,” or why its presence in the envelope “would probably produce an acquittal.”

Jordan, 806 F.3d at 1252 (quoting McCullough, 457 F.3d at 1167).

              4.     Allen Glover’s Affidavit

       Defendant next claims he is entitled to a new trial based on several other

statements included in Mr. Glover’s affidavit. First, he alleges Mr. Glover “worked with

[Jeff] Lowe to fabricate text messages and script[] recorded calls with the intent of falsely

implicating [Defendant] in a murder-for-hire that was actually attributed to Lowe.” Mot.

[Doc. No. 232] at 23. Defendant cites to Mr. Glover’s affidavit, in which he claims that

“Jeff Lowe created the entire murder for hire plot from start to finish.” Def.’s Ex. 112

[Doc. No. 232-112] ¶ 17. He does not, however, cite to any text messages or phone calls

with particularity—let alone any communications that were introduced at trial. Thus, it is

entirely unclear how Mr. Glover’s allegation would have probably resulted in an




                                             26
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 27 of 73




acquittal. Indeed, Defendant makes no attempt to argue that these allegations satisfy the

Berry test.

       Similarly, he claims Mr. Lowe “worked with . . . [A]gent Bryant to create, direct

and coerce the murder for hire plot.” Id. ¶ 11. Although he cites to the Lowes’ affidavits

and a recorded phone call between Mr. Garretson and Mr. Johnson, he provides no detail

about how any of these exhibits support his claim. Nor does he analyze his entitlement to

relief under Berry. Upon review, no apparent basis for a new trial is clear to the Court.

              5.     Allen Glover’s Relationship with Ashley Webster

       Ashley Webster, a former zoo employee, was deposed shortly before trial. None

of that deposition testimony was introduced at trial, nor did she testify live. Nevertheless,

Defendant seeks a new trial based on Mr. Glover’s post-conviction admission that “he

had a sexual relationship with Ashley Webster while she was living and working at the

zoo.” 28 Mot. [Doc. No. 232] at 21. But because Defendant does not engage with any of

the five Berry factors, he has failed to satisfy his burden with respect to this evidence.

See United States v. Cordova, 25 F.4th 817, 828 (10th Cir. 2022) (affirming denial of

new trial motion “because [defendant] failed to meet his burden on the fifth prong of the

test for procuring a new trial based on newly discovered evidence”). The Court will not

speculate how Mr. Glover’s admission is more than “merely impeaching,” why it is

“material to the principal issues involved,” or why it “would probably produce an

acquittal.” Jordan, 806 F.3d at 1252 (quoting McCullough, 457 F.3d at 1167).

28
  Defendant also argues Agent Bryant failed to disclose the relationship between Mr. Glover and
Ms. Webster, even though Lauren Lowe “made [him] aware of” it. Mot. [Doc. No. 232] at 26.
The Court addresses this Brady claim below.

                                              27
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 28 of 73




              6.      Jeff Lowe Affidavit

        Defendant’s counsel interviewed former park owner Jeff Lowe four times between

May and August of 2021. Mr. Lowe executed an affidavit following the final interview.

See Def.’s Ex. 125 [Doc. No. 232-125.]           Defendant contends Mr. Lowe fabricated

evidence by scripting phone calls and text messages with Mr. Glover. Defendant then

declares, without a citation, that “[t]hese manipulated recordings and text message

exchanges were introduced as evidence [at] trial and used in securing the indictment and

verdict.” Mot. [Doc. No. 232] at 27. In his affidavit, Mr. Lowe claims he “created . . .

and staged” a “February 26, 2018 conversation between [him]self and Alan [sic] Glover

regarding the murder for hire of Carole Baskin.” Def.’s Ex. 125 [Doc. No. 232-125]

¶ 11.    The Court has reviewed the trial transcript, and the only February 26

communication discussed at trial involves text messages between Defendant and Mr.

Glover. See Tr. at 472:9–474:3; 691:12–693:25; 1073:6–13. Although the defense

attempted to introduce “a conversation between Mr. Lowe and Mr. Glover” at trial, the

Court sustained the Government’s hearsay objection. Id. at 696:8–699:19. Because

Defendant has not identified any other “manipulated” testimony which the Court can

analyze under the Berry test, he is not entitled to a new trial on this basis.

        Finally, Defendant alleges Mr. “Lowe knew Garretson was working as a

confidential informant since the beginning, which was not disclosed to trial defense

counsel.”   Mot. [Doc. No. 232] at 27.          Defendant provides no analysis about the

importance of this information, and the Court declines to speculate.




                                              28
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 29 of 73




              7.     Jeff Lowe Recordings and Electronics 29

       Defendant next references a “phone call between Lowe and a Netflix producer

wherein Lowe admits to the manipulation and fabrication of evidence to secure the

conviction.” Mot. [Doc. No. 232] at 28. As an initial matter, Defendant’s citation does

not support this contention. The statement—that “it was coached and this thing was set

up”—came from the producer, not Mr. Lowe. See Def.’s Ex. 159 [Doc. No. 232-156] at

1. Regardless of who made the statement, Defendant fails to discuss the five-part Berry

test, which governs his entitlement to relief.

       Defendant also references a February 13, 2019 phone call between Agent Bryant

and the Lowes. See Def.’s Ex. 128 [Doc. No. 232-128]. Again, he makes no attempt to

explain how the call satisfies any part of the Berry test. 30 Nor does the substance of the

call support Defendant’s characterization that Agent Bryant “interfered and obstructed

another federal agency’s (USDA) investigation of Lowe” and “asked a government

witness to lie about aspects of the criminal investigation.” Mot. [Doc. No. 232] at 28. In

the cited transcript, Agent Bryant gives the Lowes advice about an inspection by the

USDA. Although he characterizes the investigation as “a fishing trip,” Agent Bryant

suggests the Lowes act in a manner that is “non-threatening, and very cooperative


29
   In this section, Defendant also argues that the Government allowed Agent Bryant to present
false testimony about a cub transaction. As this is an alleged Napue violation, the Court
addresses that argument below.
30
   He contends that Agent “Bryant demonstrated an awareness that his actions were wrong,”
suggesting the impeachment value of this evidence. Mot. [Doc. No. 232] at 28. But, as
previously articulated, the evidence must be more than “merely impeaching” to warrant a new
trial. Jordan, 806 F.3d at 1252.



                                             29
         Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 30 of 73




without doing [an] affidavit.” Def.’s Ex. 128 [Doc. No. 232-128] at 5. He elaborates:

“Even when it’s aggravating, be like, ‘Okay, I’m not going to roll over and play dead, but

I’m going to be very nice and very cooperative through the process.’” Id. Defendant

makes no attempt to explain why Agent Bryant’s advice to the Lowes warrants a new

trial.

               8.     Extortion

         Next, Defendant argues that his post-conviction counsel has “discovered extortion

on behalf of the cooperating government witnesses throughout this case.” Mot. [Doc.

No. 232] at 29. He first claims, without citation or further explanation, that “[Jeff] Lowe

used undisclosed evidence and his authority as employer and landlord to threaten and

intimate [sic] witnesses into testifying on behalf of the prosecution.” Id. This bare

accusation is insufficient to show his entitlement to a new trial.

         The remainder of the section focuses on John Finlay, Defendant’s former partner

and an ex-zoo employee. Defendant references a “a compromising video depicting

Finlay in a compromising way,” which he claims Agent Bryant, Mr. Lowe, and Mr.

Johnson then used as “as a means to threaten Finlay into testifying against [Defendant].”

Id. The Government contends this evidence is not newly discovered because the video

was produced before trial. See Resp. [Doc. No. 237] at 42. But Defendant’s argument

does not implicate the video itself; rather, it relies on the communications that (in his

view) demonstrate Agent Bryant used the video to coerce Mr. Finlay into testifying.

Nevertheless, Defendant provides neither details about the alleged coercion, nor analysis




                                             30
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 31 of 73




under the applicable legal framework. He is therefore not entitled to a new trial on this

claim. 31

       Defendant also cites, without discussion, Exhibit 157, which is a video that was

filed conventionally. Upon review, the Court cannot determine who all of the people in

the video are, where it was filmed, the context of the discussion, or the relevance of the

video under the applicable legal framework. Defendant also cites two letters that his

post-conviction counsel sent to the United States Attorney’s office. See Def.’s Ex. 161

[Doc. No. 232-158]; Def.’s Ex. 162 [Doc. No. 232-159]. The Government asks the Court

to disregard these letters as “an attempt to avoid [Defendant’s] page limit.” Resp. [Doc.

No. 237] at 42 n.11. The letters elaborate on what Defendant describes as the “suspected

criminal activity” by Mr. Lowe and Mr. Garretson, and each letter is roughly 30 pages

long. Def.’s Ex. 161 [Doc. No. 232-158] at 1; Def.’s Ex. 162 [Doc. No. 232-159] at 1.

The Court agrees the letters are an improper attempt to shoehorn nearly 60 additional

pages into the briefing and, upon review, they appear to have very little relevance to the

legal framework governing new trials. Accordingly, the Court disregards these exhibits.

       Finally, Defendant claims that Jeff Lowe “offer[ed] a reward for someone to

infiltrate” the volunteer program at Carole Baskin’s rescue in August of 2017. Mot.


31
   Additionally, the Court has reviewed the relevant exhibits and finds no evidence of actual
coercion. At best, Mr. Garretson paraphrases Mr. Johnson’s claim that he “ha[d] texts from Matt
[Bryant] saying to get the Finlay video so you can dangle it over his head,’ or something like
that.” Def.’s Ex. 19 [Doc. No. 232-19] at 2. There is no additional detail or context provided
about how Agent Bryant purportedly “dangle[d]” the video over Mr. Finlay’s head. Id.
Defendant also provides messages between “B” and “J,” where B (presumably Agent Bryant)
claims he “[k]now[s] a lot about Finlay so be careful trusting him.” Def.’s Ex. 163 [Doc. No.
232-160]. Such a vague reference to Mr. Finlay is wholly insufficient to warrant the relief
Defendant seeks here.

                                              31
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 32 of 73




[Doc. No. 232] at 30. In support, Defendant cites the 32-page letter that his post-

conviction counsel sent to the United States Attorney’s office. See Def.’s Ex. 162 [Doc.

No. 232-159]. As previously stated, the Court declines to consider legal arguments

developed in this attachment. Regardless, Defendant provides no analysis of why Mr.

Lowe’s alleged activities justify a new trial. The Court is unwilling to speculate about,

for example, the materiality of this evidence.

              9.     Lauren Lowe Affidavit

       Defendant then turns to an affidavit that Lauren Lowe executed after trial. See

Def.’s Ex. 133 [Doc. No. 232-132]. He first raises the recantation issue, which the Court

has disposed of above. He then makes the blanket statement that the affidavit “consists

of statements regarding the fabrication of evidence in an effort to falsely implicate

[Defendant] in the crimes charged and statements regarding Bryant illegally breaking into

[Defendant’s] personal residence and removing evidence.” Mot. [Doc. No. 232] at 30.

Defendant does not further develop this argument or engage with its merits under the

Berry test. This bare assertion, without more, is insufficient to warrant relief.

              10.    Lauren Lowe Text Messages

       Relatedly, Defendant claims that a search of Mrs. Lowe’s phone revealed

undisclosed text messages. First, Mrs. Lowe texted Agent Bryant (1) photos of Ashley

Webster’s personnel file; (2) screenshots of social media posts made by Ms. Webster,

Defendant, Jeff Johnson, and two other women with no apparent connection to the

investigation or trial; and (3) information that Ms. Webster and Mr. Glover had a sexual

relationship. See Mot. [Doc. No. 232] at 31 (citing Def.’s Exs. 133 [Doc. No. 232-132];


                                             32
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 33 of 73




138 [Doc. No. 232-137]). The photos of Ms. Webster’s personnel file were disclosed

before trial, so they are not newly discovered evidence. See Govt.’s Ex. 18 [Doc. No.

237-18]. Similarly, Defendant does not explain why he could not have discovered the

social media posts (including some from his own account) before trial.               Finally,

Defendant provides no explanation as to why the text message about the sexual

relationship is sufficient under the Berry test. 32 As previously noted, Ms. Webster did not

testify at trial, nor was her deposition testimony or voicemail presented to the jury.

Accordingly, these messages do not entitle Defendant to relief.

       Finally, Defendant points to a series of messages between Mrs. Lowe and Chealsi

Putman, Defendant’s niece. 33 In one message, Ms. Putman admits she “ha[d] been trying

to get [Defendant] in trouble for years and years.” Def.’s Ex. 134 [Doc. No. 232-133].

Another text from Ms. Putman reads: “Who pissed off Jeff Johnson matt just told me

yesterday that he has to keep him from telling all he might just mess this entire thing up

for us all.” Id. (punctuation and capitalization in original). In her affidavit, Mrs. Lowe

claims: “Chealsi Putnam [sic] told me that she was in regular communication with Agent

Bryant and would exchange information with him. She also indicated to me that she

would disclose the information she learned about the case to the attorney for Carole

Baskin.” Def.’s Ex. 133 [Doc. No. 232-132] ¶ 18. Again, however, Defendant provides

no analysis as to how any of these claims entitle him to a new trial under Berry.

32
  Defendant also claims the failure to produce the message constitutes a Brady violation. The
Court addresses this argument below.
33
  The parties use “Putman” and “Putnam” interchangeably. The correct spelling appears to be
“Putman.” See Govt.’s Ex. 23 [Doc. No. 237-23].

                                             33
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 34 of 73




                11.   Lauren Lowe Perjury

       Defendant next contends that Mrs. Lowe perjured herself when testifying about

Beth Corley, one of Defendant’s former employees. Ms. Corley possessed a USDA

exhibitor’s license, and she testified that Defendant maintained her license after she left

the park to keep the animals “protect[ed]” from his lawsuit with Mrs. Baskin. Tr. at

289:12–291:13. For her part, Mrs. Lowe testified that she had “never met” Ms. Corley.

Id. at 711:10–16. Defendant has now produced a transcript of a phone call between the

Lowes and Agent Bryant, in which Mrs. Lowe says: “I actually gave Beth Corely her . . .

Well, I gave it to one of her staff members to give to her, as to what her inventory was,

and she’s like, ‘Holy Shit.’ She’s like, ‘I had no idea this was all my inventory.’” Def.’s

Ex. 126 [Doc. No. 232-126] at 6 (alteration in original). As an initial matter, this

statement does not clearly conflict with Mrs. Lowe’s trial testimony. To be sure, the

statement is ambiguous when viewed in isolation. In the same call, however, Mrs. Lowe

tells Agent Bryant she has “never met [Ms. Corley], but all her staff say really positive

things about her.” Id. at 2. Nevertheless, Defendant makes no attempt to explain how

evidence that Mrs. Lowe had previously met Ms. Corley would have probably produced

an acquittal.

                12.   Yarri Schreibvogel Interview

       Next, Defendant cites a transcript between his estranged brother, Yarri

Schreibvogel, 34 and his post-conviction counsel. Defendant identifies several statements


34
   Although the Motion refers to Mr. Schreibvogel as “Yurri,” it appears the proper spelling of
his name is “Yarri.” See Govt.’s Ex. 19 [Doc. No. 237-19].

                                              34
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 35 of 73




made by Mr. Schreibvogel, including his belief that Carole’s husband “Howard [Baskin]

was behind it from day one,” that he “had been in it with Howard [Baskin] since day

one,” and that “Chealsi [Putman] set [Defendant’s] ass up.” [Doc. No. 232] at 33

(quoting, approximately, Def.’s Ex. 135 [Doc. No. 232-134] at 4–6). Defendant makes

no attempt to explain how Mr. Schreibvogel’s testimony would be admissible, material,

or “of such a nature that in a new trial it would probably produce an acquittal.” Jordan,

806 F.3d at 1252. Accordingly, it moves him no closer to a new trial. 35

               13.    John Reinke

       Defendant’s post-conviction counsel also interviewed former park manager John

Reinke, who completed an affidavit following the conversation. See Def.’s Ex. 113 [Doc.

No. 232-113]. Defendant claims Mr. “Reinke’s statements regarding the age and health

of the five tigers euthanized by [Defendant] contradict testimony by Eric Cowie and

Dylan West.” Mot. [Doc. No. 232] at 33. But this evidence fails the Berry test because

Defendant’s trial counsel interviewed Mr. Reinke prior to trial. See Def.’s Ex. 113 [Doc.

No. 232-113] ¶¶ 4, 62. Defendant makes no attempt to explain why the failure to learn

about Mr. Reinke’s claims was “not caused by [his] own lack of diligence.” Jordan, 806

F.3d at 1252; see also United States v. Vigil, 506 F. Supp. 2d 571, 579 (D.N.M. 2007)




35
   Defendant also claims that Mr. Schreibvogel “had a multiple hour meeting with the U.S.
Attorneys and Bryant, which was never made available to trial defense counsel.” Mot. [Doc. No.
232] at 33; see also Def.’s Ex. 135 [Doc. No. 232-134] at 6. But, as the Government points out,
a draft report of this phone call was included in the pretrial discovery. See Govt.’s Ex. 19 [Doc.
No. 237-19].

                                               35
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 36 of 73




(“Any failure to ascertain the allegedly new evidence is a result of [defendant’s trial

counsel’s] failure to ask . . . .”).

          Similarly, Defendant claims the “USFWS Report prepared by Special Agent

Bryant after Reinke’s interview on February 6, 2019” contained “misleading and false

information.” Mot. [Doc. No. 232] at 34. But again, Defendant fails to show that such

inconsistencies could not have been discovered before trial with reasonable diligence. 36

He has therefore failed to establish that this report and any purported inconsistencies it

contains are newly discovered evidence under Berry.

                 14.     The Tigers

          The jury found Defendant guilty of unlawfully shooting and killing five tigers.

See Superseding Indictment [Doc. No. 24] at 7–8; Jury Verdict [Doc. No. 113] at 2–3. At

trial, former zoo employee Erik Cowie testified Defendant killed the tigers to “make cage

space” by shooting “cats who weren’t producing any cubs.” Tr. at 45:3–9. Defendant

now claims that “two of the tigers allegedly shot and killed by [Defendant] survived his

conviction.” Mot. [Doc. No. 232] at 34. The Motion baldly asserts that “Lauren Lowe

and her veterinarian have evidence showing the tiger Delilah died after Joe was convicted

and that Delilah died with evidence of being able to breed in her body.” Id. Defendant

cites to no exhibit to support this contention, nor does he elaborate on the alleged

evidence, making it impossible to apply the relevant legal framework.




36
     He does not contend the report was withheld from his trial counsel.



                                                 36
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 37 of 73




       Next, he provides a link to a website which he claims allowed the public to donate

to “Samson”—one of the euthanized tigers—until at least December 2021. 37 See id.

Beyond the name of the tiger, however, he provides no evidence that the “Samson” on

the website is the same tiger killed at the park. Indeed, Mr. Cowie testified that Samson

was a “white Bengal[],” Tr. at 45:16–19, but the tiger on the website is orange, see [Doc.

No. 237-20]. 38 Accordingly, this evidence appears to be irrelevant.

              15.     National Geographic

       Defendant next identifies a National Geographic article, alleging its author

contacted Agent Bryant “and was specifically aware of the investigation of [Defendant]

prior to the indictment.” Mot. [Doc. No. 232] at 35. As set forth in the Motion, the

article was published in December 2019—after Defendant was found guilty—so it is not

evidence that could have been introduced at trial. See United States v. Lafayette, 983

F.2d 1102, 1105 (D.C. Cir. 1993) (“In general, to justify a new trial, ‘newly discovered

evidence’ must have been in existence at the time of trial. Events and transactions

occurring after the trial obviously could not have been the subject of testimony at the

trial.”). Similarly, he highlights an accompanying photo in the article but admits it was




37
  Mr. Reinke’s affidavit also undercuts the assertion that two of the tigers were secretly alive
during the trial. See Def.’s Ex. 113 [Doc. No. 232-113] ¶ 33 (“The five cats that were euthanized
were Sampson, Delilah, Trinity, Lauren, and Cuddles. . . .”).
38
  The Court relies on the Government’s exhibit because the link provided in the Motion is no
longer active.



                                               37
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 38 of 73




not taken until after the trial. 39 To be sure, the author of the photo emailed Agent Bryant

before the trial, but these communications were produced in pretrial discovery. See

Govt.’s Ex. 21 [Doc. No. 237-21]. None of this evidence, therefore, entitles Defendant to

a new trial.

               16.   Tiger King

       Defendant also relies on the option and purchase agreement that he entered with

Royal Goodes LLC. See Def.’s Ex. 1 [Doc. No. 232-1]. This contract is dated November

28, 2017. See id. at 1. Defendant was therefore aware of the document nearly a year

before he was indicted, so the contract itself cannot form the basis for the relief he seeks.

       Nevertheless, he argues that producers used the contract “to keep proprietary

interests in witness statements and interviews captured during the criminal investigation

which included now known to be relevant evidence/information they are still holding

inviolate to this day.” Mot. [Doc. No. 232] at 36. He makes the blanket accusation that

“the contract prevented his agents from investigating and denied [his] lawyers access to

relevant evidence, including witness statements.” Id. at 36–37. But he does not provide

any support for this statement in the record, nor does he identify a single statement or

piece of evidence that was withheld. Accordingly, the Court cannot even attempt to

apply the Berry elements. While he cites an email from producer Rebecca Chaiklin that




39
   Although Defendant points out the photos and article were published “before [he] was
sentenced,” he does not explain the significance of this fact within the applicable Berry
framework. Mot. [Doc. No. 232] at 35.



                                             38
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 39 of 73




references “four transcripts,” see Def.’s Ex. 149 [Doc. No. 232-147], the email was sent

on February 10, 2022, so it could not have been introduced at trial. 40

          Lastly, he details an interview that a podcast host conducted with Mr. Lowe, in

which Mr. Lowe harshly criticizes Mrs. Baskin. Defendant laments that “[t]he full

context of this recording is needed by all of us.” Mot. [Doc. No. 232] at 37. Because

Defendant provides no analysis, however, the importance of the recording within the

applicable legal framework appears to be entirely speculative.

                  17.    Evidentiary Hearing

          Finally, Defendant requests an evidentiary hearing.                As an initial matter,

Defendant is not entitled to a hearing to further develop legal arguments which were

either not raised or only fleetingly addressed. 41 Evidentiary hearings provide the Court

with an opportunity to resolve factual disputes; they do not provide counsel with a second

chance to develop legal arguments. To hold otherwise would encourage advocates to

pack their motions with barebones arguments and vague conspiracies as a placeholder for

an eventual hearing. The Court has already explained why it is unnecessary to conduct

an evidentiary hearing on the recantation claims. Defendant has provided no additional

reasoning—nor is any apparent to the Court—why he is entitled to a hearing on the

40
     Additionally, it is entirely unclear what transcripts Ms. Chaiklin is referencing.
41
   The Court is not persuaded that the page limit can be blamed for the Motion’s dearth of legal
analysis. See Jolly v. Hoegh Autoliners Shipping AS, No. 3:20-CV-1150-J-34PDB, 2020 WL
6505037, at *1 (M.D. Fla. Nov. 5, 2020) (“Significantly, the page limit requirement is not
designed to burden the parties, but to conserve judicial resources by focusing the parties’
attention on the most pressing matters and winnowing the issues to be placed before the Court. . .
. Defendants have done no winnowing and instead have engaged in a throw-the-spaghetti-and-
see-what-sticks motion practice which leads to imprecise and inartful briefing.” (cleaned up)).



                                                   39
         Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 40 of 73




remainder of the Motion.       Accordingly, the request for an evidentiary hearing is

DENIED.

         B.     Brady/Giglio Violations

         Defendant next argues he is entitled to a new trial on the basis of improperly

withheld evidence. When the prosecution suppresses material, exculpatory evidence, it

commits a Brady violation. United States v. Erickson, 561 F.3d 1150, 1163 (10th Cir.

2009).        Impeachment evidence, including immunity agreements, are considered

exculpatory for Brady purposes. Giglio, 405 U.S. at 155.

         In the context of a new trial motion, “Brady claims can be a subspecies of newly

discovered evidence claims.” Quintanilla, 193 F.3d at 1148 n.9. Unlike other newly

discovered evidence, however, alleged Brady/Giglio violations are not subject to the five-

part Berry test. Instead, “the less-demanding Brady standard” applies. United States v.

Torres, 569 F.3d 1277, 1281–82 (10th Cir. 2009). This test requires a defendant to show,

by a preponderance of the evidence, that “(1) the prosecution suppressed evidence, (2)

the evidence was favorable to the defendant, and (3) the evidence was material.”

Cordova, 25 F.4th at 826 (quoting United States v. Ahrensfield, 698 F.3d 1310, 1319

(10th Cir. 2012)).     “The ‘prosecution’ includes ‘not only the individual prosecutor

handling the case, but also extends to the prosecutor’s entire office, as well as . . . other

arms of the state involved in investigative aspects of a particular criminal venture.’”

United States v. Holloway, 939 F.3d 1088, 1105 (10th Cir. 2019) (quoting Smith v. Sec’y

of New Mexico Dep't of Corr., 50 F.3d 801, 824 (10th Cir. 1995)).




                                             40
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 41 of 73




       Materiality in this context means that “there is a reasonable probability that, had

the evidence been disclosed, the result of the proceeding would have been different.”

Cordova, 25 F.4th at 826 (quoting Smith v. Cain, 565 U.S. 73, 75 (2012)). “The question

is not whether the defendant would more likely than not have received a different verdict

with the evidence, but whether in its absence he received a fair trial, understood as a trial

resulting in a verdict worthy of confidence.” Fontenot v. Crow, 4 F.4th 982, 1080 (10th

Cir. 2021) (quoting Strickler v. Greene, 527 U.S. 263, 290 (1999)), cert. denied, 142 S.

Ct. 2777 (2022). The materiality of withheld evidence is evaluated “in light of the entire

record in order to determine if ‘the omitted evidence creates a reasonable doubt that did

not otherwise exist.’” Id. at 1080–81. Although the Court analyzes the individual

allegations below, it “do[es] not consider each piece of withheld evidence in isolation.”

Id. (quoting Simpson v. Carpenter, 912 F.3d 542, 572 (10th Cir. 2018)). Instead, it

“review[s] the cumulative impact of the withheld evidence, its utility to the defense as

well as its potentially damaging impact on the prosecution’s case.” Id. (quoting Simpson,

912 F.3d at 572). “Whether withheld evidence is material is not a sufficiency-of-the-

evidence test.” United States v. Reese, 745 F.3d 1075, 1084 n.6 (10th Cir. 2014); see

also Kyles v. Whitley, 514 U.S. 419, 435 (1995) (“One does not show a Brady violation

by demonstrating that some of the inculpatory evidence should have been excluded, but

by showing that the favorable evidence could reasonably be taken to put the whole case

in such a different light as to undermine confidence in the verdict.”).




                                             41
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 42 of 73




              1.      Insufficiently Raised Claims

       Although Defendant faces a less onerous burden to warrant a new trial under the

Brady/Giglio standard than under the Berry test, the burden still belongs to him.

Accordingly, the Court can quickly dispose of the claims that Defendant wholly fails to

analyze. See United States v. Moya, 5 F.4th 1168, 1193 (10th Cir. 2021), cert. denied,

142 S. Ct. 385 (2021) (“But to establish a Brady violation [defendant] must explain at a

bare minimum why the requested evidence was favorable to him and demonstrate that it

was material, i.e., that the result of the proceeding would have been different if the

evidence had been given to the defense. Because [defendant] doesn’t even attempt to

establish those necessary criteria, his challenge fails.” (citation omitted)).

       On four occasions, Defendant identifies newly discovered evidence, claims it was

not produced to defense counsel, and concludes with the phrase: “yet another Brady

violation.” See Mot. [Doc. No. 232] at 20 (regarding Mr. Garretson withholding a

recording of the “bike path” conversation), 26, (regarding Mr. Glover’s text messages to

Agent Bryant about his roommate in South Carolina, and “101 text messages between

Garretson and Glover”), 33 (regarding Mr. Schreibvogel’s claim that “he had a multiple

hour meeting with the U.S. Attorneys and Bryant”). The Court cannot assess the merits

of these undeveloped claims because doing so would require it to improperly serve in a

dual capacity as both advocate (crafting legal arguments on Defendant’s behalf) and

neutral arbiter (deciding the merits of the arguments it just created). See United States v.

Madrid, No. CR 12-128 JB, 2016 WL 9778161, at *6 (D.N.M. Apr. 7, 2016), report and

recommendation adopted, No. CIV 14-0801 JB/WPL, 2016 WL 4492182 (D.N.M. June


                                              42
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 43 of 73




30, 2016) (“Courts do not act as advocates for pro se parties, let alone those represented

by counsel.” (quoting In re Onyeabor, 535 F. App’x. 725, 731 (10th Cir. 2013)

(unpublished))). Accordingly, he is not entitled to a new trial on these grounds. See

Griebel, 312 F. App’x at 97 (“We are not willing, nor are we obligated, to forgive

[Defendant’s] failure to support his assertions by simply indulging his request to assume

away all three elements of our established test for evaluation of Brady claims.”).

              2.     Mr. Garretson’s Undisclosed Recordings

       First, Defendant claims “[a]ll recordings from Garretson and Lowe were

intentionally withheld or destroyed, despite the government’s knowledge of the existence

of these recordings.” Mot. [Doc. No. 232] at 39. By his count, “[o]ver 389 recordings

were withheld.” Id. Without identifying a particular call, he asserts:

       The evidence contained in these recordings demonstrates the perjury
       committed at trial, the witnesses’ true motivation in cooperating with the
       government, the misconduct of the lead investigators and AUSAs, efforts to
       gain information on trial defense counsel’s strategy, promises of immunity
       and more. If this evidence was properly turned over to trial defense
       counsel, there is a reasonable probability the outcome would have been
       different.

Id. These conclusory statements, which treat 389 calls as a monolith, are insufficient to

raise a Brady claim. Apart from the February 20 phone call discussed below, Defendant

does not identify any particular call or explain its impact (e.g., by identifying which of

the nineteen charges it pertains to or analyzing its favorability or materiality).

       He next argues that Agent Bryant “conspired with Garretson to materially alter

part of the evidence so that it became favorable to the prosecution.” Id. The Court

believes he is referencing the February 20, 2019 phone call between Mr. Johnson and Mr.


                                              43
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 44 of 73




Garretson, which he describes as “two government witnesses conspiring to murder yet

another government witness.” Id. As the Government points out, many of the facts

underlying the call were produced in pretrial discovery. Prosecutors provided a Garvin

County sheriff’s report from March 13, 2019. The report includes a summary of the call

and mentions that Mr. Garretson’s recordings “were preserved to a CD.” See Govt.’s Ex.

22 [Doc. No. 237-22] at 3. In reply, Defendant argues that “[a] police report mentioning

a recording does not equate to the proper pretrial production of a recording captured by a

confidential informant during a criminal investigation.” Reply [Doc. No. 240] at 3.

       A defendant’s knowledge does not negate a prosecutor’s disclosure obligations

under Brady.     But that knowledge is certainly relevant to the materiality analysis.

Fontenot, 4 F.4th at 1066 (“[I]f the defense already has a particular piece of evidence, the

prosecution’s disclosure of that evidence would, in many cases, be cumulative and the

withheld evidence would not be material.’” (quoting Banks v. Reynolds, 54 F.3d 1508,

1517 (10th Cir. 1995)). Defendant provides no analysis on the materiality of the call,

particularly in light of the information contained in the sheriff’s report.       Similarly,

Defendant does not attempt to analyze the favorability of the call. He instead makes the

general statement that “[c]riminal activity that did not involve [Defendant] would have

been helpful in [Defendant’s] defense.” Mot. [Doc. No. 232] at 40. 42




42
  Defendant again suggests the call was the basis for excluding Mr. Johnson’s testimony. But,
as explained above, he provides no evidence that Mr. Johnson’s testimony was actually
excluded.

                                             44
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 45 of 73




              3.     Mr. Garretson’s Recording Device

       Next, Defendant claims Mr. Garretson maintained possession of his government-

issued recording device “up to and during the trial.” Id. According to Defendant, “The

possibility of recordings on this device that would exonerate [Defendant] or helped his

defense would have affected the outcome of the trial.” Id. But Defendant concedes “we

will never know” whether the recordings would be favorable because Garretson

destroyed the device. Id. He makes no argument that the recorder itself was exculpatory

evidence. Instead, his argument centers on the unknown contents of the recorder. But

“[s]peculation is insufficient to establish favorability under Brady.” Holloway, 939 F.3d

at 1105.

              4.     Brittany Medina

       Next, Defendant contends that “Brittany Medina was an undisclosed exculpatory

witness for the defendant,” and that she “was involved with the federal investigation

since Garretson’s initial interview with law enforcement on September 14, 2017.” Mot.

[Doc. No. 232] at 40. He claims Ms. Medina could have “refute[d] the AUSAs[’] theory

that [Defendant] was involved in this first murder for hire plot.” Id. at 41.

       At trial, Mr. Garretson testified about an August 2017 conversation that took place

at the zoo. When asked who was present, Mr. Garretson testified, “It was me, Jeff Lowe

and Joe Passage.”      Tr. at 548:1–2.     During a post-conviction interview with Mr.

Garretson and a Tiger King producer, Ms. Medina claimed she was also in the office

during the conversation. For the most part, her account of the conversation matches Mr.

Garretson’s recollection at trial.   Both Mr. Garretson and Ms. Medina claimed that


                                             45
         Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 46 of 73




Defendant was in the back part of the office while Mr. Lowe pulled up maps of Mrs.

Baskin’s property—including the bike path she took to work—on his computer and

discussed ways to kill her. See id. at 548:4–549:3; Def.’s Ex. 104 [Doc. No. 232-104] at

10–11.

         The Government concedes the accounts differ in one respect, however. At trial,

Mr. Garretson testified that when the conversation turned to the fact that “[Defendant]

knew everything about Ms. Baskin,” Defendant “br[ought] over a big stack of manila

folders” that contained “everything about [Mrs. Baskin].” Tr. at 548:4–10. He testified

to his belief that the folders came from “somebody in the inside of her organization.” Id.

at 548:11–15. Ms. Medina’s account did not include this detail. 43 The Government

questions the materiality of this difference because evidence FBI Special Agent Mark

Williams also testified about Defendant’s trove of documents. At trial, the Government

played a recording of a December 8, 2017 meeting between Defendant, Special Agent

Williams, and Mr. Garretson. During the conversation, which took place in an office at

the zoo, Special Agent Williams and Defendant had the following exchange:

         [Special Agent Williams]: Yeah, yeah I just need to know, you know,
         where she lives, where, I mean if y’all have that. Any, any information you
         got on her so I can make sure…

         [Defendant]: [Laughs] How much you need?

         [Special Agent Williams]: Holy shit.


43
  She maintains that Defendant was “in his little cubicle area, making phone calls, barely having
an input in the conversation unless Jeff was asking him questions, or you know when someone
jokes and laughs about what they’re talking about and then it’s like, ‘Oh, what do you think,
Joe?’” Def.’s Ex. 104 [Doc. No. 232-104] at 11.



                                                46
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 47 of 73




       [Defendant]: I got this all outta her office.

Govt.’s Ex. 9 [Doc. No. 237-9] at 19. At trial, Special Agent Williams testified that

Defendant “provided [him] with a number of documents related to [Mrs. Baskin]” at this

point in the conversation. Tr. at 790:3–15. Accordingly, the materiality of Ms. Medina’s

omitted testimony appears low, given its cumulative nature.

              5.     Ashley Webster

       Defendant attempts to raise two Brady claims related to Ms. Webster. First, he

claims the prosecution failed to disclose that Ashley Webster “was actually working for

the government and was not, as portrayed, an independent person working at the zoo.”

Mot. [Doc. No. 232] at 41. For support, he cites a 20-second video of a woman who

says: “Joe gave me a certificate—this was after I left. I went back down again, and I

went to gather more information [to] send it to the FBI, right.” Def.’s Ex. 141 (filed

conventionally).   The Government claims that Ms. Webster “never worked for the

government,” and she did not claim that the prosecution sent her to gather evidence.

Resp. [Doc. No. 237] at 50. Upon review, the video is certainly not sufficient to establish

a relationship between Ms. Webster and the FBI. Nevertheless, he provides no analysis

about the materiality of this evidence.

       Next, Defendant claims that the prosecution failed to disclose text messages about

Ms. Webster pertaining to (1) her personnel file, and (2) information about her

relationship with Mr. Glover. Defendant first cites a string of text messages that include

photos of Ms. Webster’s personnel file, but these photos were all produced in pretrial

discovery. Compare Def.’s Ex. 139 [Doc. No. 232-138], with Govt.’s Ex. 18 [Doc. No.


                                              47
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 48 of 73




237-18]. But Mrs. Lowe also sent Agent Bryant a text message that said: “OH MY

GOD!!! ALLEN HAD SEX WITH ASHLEY WEBSTER!!! SHE LIVED IN HIS

TRAILER!!!” Def.’s Ex. 139 [Doc. No. 232-138] at 4 (capitalization and punctuation in

original).   Assuming this message was suppressed, Defendant has not attempted to

explain either its favorability or materiality. 44

               6.      Chealsi Putman

       Similarly, Defendant alleges the prosecution did not disclose the cooperation of

Ms. Putman, whom he describes as “[Defendant’s] niece and a personal friend of the

Baskins.” Mot. [Doc. No. 232] at 42. He alleges Ms. Putman worked closely with Agent

Bryant during the investigation and “relayed any information she learned directly to the

Baskins.” Id. As an initial matter, Defendant’s claim that “[n]o evidence of Putman’s

involvement was turned over to trial defense counsel” is inaccurate. Mot. [Doc. No. 232]

at 42. The prosecution produced both a letter from Ms. Putman and several pages of text

messages with Agent Bryant. See Govt.’s Ex. 23 [Doc. No. 237-23]; Govt.’s Ex. 24

[Doc. No. 237-24]. 45 Defendant relies on a string of text messages between Ms. Putman

and Mrs. Lowe “referenc[ing] her cooperation with the federal agent throughout the

44
  As the Government points out, “Ms. Webster did not testify and neither her voicemail nor her
deposition were admitted into evidence.” Resp. [Doc. No. 237] at 50.
45
   The Government and Defendant cite to the same text message thread between Agent Bryant
and a contact named “Chelsea,” although the texter appears to be Ms. Putman’s husband. See
Def.’s Ex. 142 [Doc. No. 232-140]; Govt.’s Ex. 24 [Doc. No. 237-24]. The contact is labeled as
“Chelsea,” but Agent Bryant’s first message addresses “Travis.” Several of the messages to
Agent Bryant include the phrase “my wife and I.” See, e.g., Govt.’s Ex. 24 [Doc. No. 237-24] at
6, 10, 12, 20, 23, 42. Agent Bryant later instructs the texter to “[h]ave Chelsea call [him].” Id. at
40. Finally, the texter says “[C]healsi and I haven’t decided if we are coming.” Id. at 45.
Nevertheless, both exhibits are Bates-stamped, indicating they were produced in pretrial
discovery.

                                                 48
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 49 of 73




investigation.” See Def.’s Ex. 134 [Doc. No. 232-133]. Even assuming the Government

suppressed the level of Ms. Putman’s purported involvement with the investigation,

Defendant makes no attempt to explain the materiality of this evidence.

             7.     Agent Bryant’s Communications

      Next, Defendant alleges several Brady violations related to Agent Bryant’s

communications. First, he claims Agent Bryant “read Garretson messages he received

from Johnson,” but that those messages were not produced in pretrial discovery. Mot.

[Doc. No. 232] at 42. Defendant does not cite any of the six supporting exhibits with

particularity, but the Court presumes he is referencing (1) a message in which Mr.

Johnson asks Agent Bryant “to ask Lowe to meet [Mr. Johnson] in a public place right

now,” Def.’s Ex. 15 [Doc. No. 232-15] at 5; see also Def.’s Ex. 18 [Doc. No. 232-18] at

1; (2) a message in which Mr. Johnson asked to meet with Agent Bryant, but Agent

Bryant responded that he was “too busy,” Def.’s Ex. 16 [Doc. No. 232-16] at 2; and (3)

Mr. Garretson’s admission that he recorded the February 20 phone call with Mr. Johnson,

see Def.’s Ex. 17 [Doc. No. 232-17] at 1; Def.’s Ex. 19 [Doc. No. 232-19] at 1–2. But, as

the Government points out, Defendant “again offers virtually nothing to satisfy his

burden” with respect to favorability or materiality. Resp. [Doc. No. 237] at 50.

      Next, he claims “Bryant failed to produce text messages from the Lowe’s [sic]

regarding Ashley Webster.” Mot. [Doc. No. 232] at 42. Although he does not cite an

exhibit or provide analysis, the Court presumes he is referencing the message about Ms.

Webster’s sexual relationship with Mr. Glover. See Def.’s Ex. 139 [Doc. No. 232-138] at




                                            49
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 50 of 73




4. The Court has already addressed the insufficiency of that claim above, and Defendant

offers no more context here to satisfy his burden under any of the three Brady elements.

      Defendant next claims Agent Bryant “failed to report on calls and produce

messages exchanged with Glover regarding potential witnesses and Glover’s pending

court cases.” Mot. [Doc. No. 232] at 42. He cites four exhibits in support with no further

comment or analysis. See id. (citing Def.’s Ex. 62 [Doc. No. 232-62]; Def.’s Ex. 133

[Doc. No. 232-132]; Def.’s Ex. 138 [Doc. No. 232-137]; Def.’s Ex. 139 [Doc. No. 232-

138]). Defendant’s Exhibits 62 and 138 have no apparent relevance to Mr. Glover.

Defendant also cites Lauren Lowe’s affidavit, in which she claims, “Agent Bryant met

with Jeff Lowe and together they called Frank Allen Glover to record a conversation

regarding the murder for hire,” Def.’s Ex. 133 [Doc. No. 232-132] ¶ 13. But Defendant

provides no further information or context about this call, making it impossible for the

Court to assess its materiality under Brady. Defendant again cites Mrs. Lowe’s message

to Agent Bryant about Ms. Webster and Mr. Glover’s sexual relationship, but still

provides no analysis under Brady. See Def.’s Ex. 139 [Doc. No. 232-138] at 4.

      Defendant next claims Agent Bryant “failed to produce recordings that showed

[Defendant] had no interest in committing crimes, which Bryant specifically request

Lowe to try and obtain.” Mot. [Doc. No. 232] at 42–43. The exhibit contains a recorded

phone call between Mr. Lowe and Defendant, although there is no indication that Agent




                                           50
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 51 of 73




Bryant orchestrated the recording. See Def.’s Ex. 156 [Doc. No. 232-154]. Nor does

Defendant analyze the content of the call under Brady. 46

       Defendant next notes that Agent Bryant gave Mr. Garretson his personal phone

number—a fact which is corroborated by an exhibit produced in pretrial discovery. See

Def.’s Ex. 143 [Doc. No. 232-141] (bearing Bates numbers). Defendant now contends

that “nothing from Bryant’s personal phone was ever turned over.” Mot. [Doc. No. 232]

at 43. He does not identify any specific messages that were withheld, however, but

appears to suggest that some unknown messages could be favorable and material. But

such speculation is insufficient. See United States v. Garcia-Martinez, 730 F. App’x 665,

673 (10th Cir. 2018) (“In order to prevail on his or her Brady claim, a defendant must

marshal arguments that are more than ‘merely speculative’ that demonstrate by a

preponderance of the evidence that the three Brady criteria are satisfied . . . .” (quoting

Sandoval v. Ulibarri, 548 F.3d 902, 915 (10th Cir. 2008)).

       Finally, Defendant notes that some of the screenshots of Agent Bryant’s text

messages “appear[] to be edited or altered in some way.” Mot. [Doc. No. 232] at 43. He

claims Agent Bryant intentionally altered the messages, and that “the substance of

Bryant’s text messages are material based on his unethical behavior throughout the entire

investigation in concealing, manipulating and fabricating evidence in an effort to secure a

conviction against [Defendant].” Id. But the fact that the messages were altered was not




46
   Upon review, the call does not appear to support Defendant’s contention that he “had no
interest in committing crimes.” Mot. [Doc. No. 232] at 43.

                                            51
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 52 of 73




suppressed, as the messages Defendant cites were produced in pretrial discovery. 47

Compare Def.’s Ex. 144 [Doc. No. 232-142] at 5, with Govt.’s Ex. 25 [Doc. No. 237-25]

at 5.

              8.      The Tiger Excavation 48

        During the investigation, the USFWS came to suspect that Defendant unlawfully

euthanized tigers and buried them at the zoo. After conducting a dig operation, USFWS

agents collected five tiger skulls, which were sent for testing and ultimately used to

secure Defendant’s conviction on the five illegal taking charges.             See Superseding

Indictment [Doc. No. 24] at 7–8. Defendant now claims “newly discovered photographs”

show that a sixth skull was excavated. Mot. [Doc. No. 232] at 44. As the Government

points out, however, one of the cited photographs was not only produced in pretrial

discovery but was also introduced at trial. See Def.’s Ex. 166 [Doc. No. 232-163]; Tr. at

106:3–13. Defendant does not adequately demonstrate that this evidence was suppressed.

47
   Defendant makes no argument that the substance of any individual message (i.e., the words
that were altered) forms the basis of a Brady violation.
48
   This portion of Defendant’s Motion also claims that joinder of the two murder-for-hire counts
with the remaining counts was an effort “to inappropriately influence the outcome of the criminal
trial.” Mot. [Doc. No. 232] at 45. He cites to a phone call between Mr. Lowe and Agent Bryant
that occurred after this Court denied Defendant’s motion to sever. See Def.’s Ex. 128 [Doc. No.
232-128]. During this discussion, Agent Bryant says: “And I don’t know. I think what they were
thinking is that we get some jurors’ heartstrings bleeding on shooting those cats and showing
pictures of the tiger dig and all that. And they might be prejudicial where we’re weak on the
murder for hire.” Id. at 9. Defendant is apparently attempting to use Brady to challenge the
Court’s Order on the Motion to Sever, see [Doc. No. 55]. Even assuming this is procedurally
proper—a highly dubious prospect—Defendant does not explain how Agent Bryant’s unsworn
statements about the prosecutors’ litigation strategy would have been material to either the
Court’s decision or the outcome of trial. Additionally, Defendant provides no evidence that the
call was suppressed. Indeed, it seems unlikely that Agent Bryant would have spoken so candidly
had he suspected Mr. Lowe was recording him.



                                               52
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 53 of 73




Additionally, it is not clear to the Court how evidence of a sixth dead tiger would have

been favorable to the Defendant. Nor is it clear how this evidence is material, since

Defendant was not charged for killing the sixth tiger. See Resp. [Doc. No. 237] at 51 &

n.40.

        Next, he argues investigators suppressed evidence by separating the tigers’ heads

from their bodies and taking only the skulls.              He claims that “the government

intentionally left the tiger bodies in the ground in an attempt to prevent [Defendant] from

having the ability to prove the animals were euthanized because of illness.” Mot. [Doc.

No. 232] at 44. The argument that the tigers’ bodies would reveal evidence of infirmity

or illness is entirely speculative and, therefore, insufficient to support a Brady claim. 49

               9.     Allen Glover

        Defendant presents two purported Giglio violations related to Allen Glover. First,

he contends Agent Bryant agreed to “handle[]” Mr. Glover’s DUI to protect his

credibility at trial. Mot. [Doc. No. 232] at 56. Defendant cites to Mr. Lowe’s affidavit,

in which Mr. Lowe claims Agent Bryant told him “that a conviction could impugn the

credibility of [Mr. Glover’s] statements to the government.” Def.’s Ex. 125 [Doc. No.

232-125] ¶ 33. As an initial matter, the Court is highly skeptical that any such agreement


49
   Additionally, Defendant makes no attempt to explain why evidence of arthritis, if it existed,
would be material. The trial testimony establishes that the tigers were euthanized outside of the
confines of the provision of care established with Dr. Green. See Tr. at 181:22–187:2
(explaining that amended vet protocol permitted Defendant to euthanize an animal only in case
of an extreme emergency); see also 16 U.S.C. § 1539(a)(1)(A) (permitting takings that “enhance
the propagation or survival” of the tiger species); 50 C.F.R. § 17.3 (defining “enhance the
propagation or survival” to include, inter alia, takings that are part of a “[p]rovision of health
care”).



                                               53
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 54 of 73




existed. Cf. Baker v. United States, No. CR H-96-187-2, 2002 WL 35634847, at *5 (S.D.

Tex. Mar. 1, 2002), aff’d, 801 F. App’x 309 (5th Cir. 2020) (rejecting Giglio claim

because “no credible evidence support[ed] [defendant’s] claim that the United States

concealed the existence of a non-prosecution agreement”). Mr. Glover entered a nolo

contendere plea and was convicted on one misdemeanor DUI count on February 28,

2019—about one month before trial commenced. See Govt.’s Ex. 27 [Doc. No. 232-27].

And, as the Government points out, the purported deal is dubious because Federal Rule of

Evidence 609(a) would have barred the use of a misdemeanor DUI conviction to impeach

Mr. Glover. See Resp. [Doc. No. 237] at 54.

       Similarly, Defendant claims that “three government representatives, AUSA Green,

Bryant, and AUSA Green’s supervisor” told Mr. Glover that if he cooperated, “no

charges would be brought against [him] now or in the future.” Mot. [Doc. No. 232] at 56

(quoting Def.’s Ex. 112 [Doc. No. 232-112] ¶ 40). But, again, the Court doubts the

veracity of Mr. Glover’s affidavit based on the other evidence in the record. First, Agent

Bryant has submitted a competing affidavit in which he claims that “[t]o his knowledge,

no immunity or promise of immunity was offered” to Mr. Glover. Govt.’s Ex. 23 [Doc.

No. 237-29] ¶ 3. Similarly, Mr. Glover testified at trial that he did not receive an offer of

immunity. Tr. at 650:1–7; see also United States v. Weeks, 653 F.3d 1188, 1205 (10th

Cir. 2011) (“Solemn declarations in open court carry a strong presumption of verity.”).

Finally, a recorded phone call between the Lowes and Agent Bryant lends credence to

Mr. Glover’s trial testimony. Following the conclusion of Defendant’s trial, Mr. Lowe

joked that Agent Bryant “ought to go down there, scare the shit out of [Mr. Glover].”


                                             54
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 55 of 73




Def.’s Ex. 119 [Doc. No. 232-119] at 6. Agent Bryant replied, “That poor man. I got to

like him throughout the case [crosstalk 00:08:20] and it would scare him to death if I was

to go down there and go, well, I tried, buddy. I tried to keep you out of trouble.” Id.

Based on Agent Bryant’s candid statement, it appears Mr. Glover still feared prosecution.

Additionally, the Government explained that its “decision not to prosecute Mr. Glover

resulted from the limited scope of federal law and the evidence that it possessed, not a

promise of immunity,” a contention which the Court finds credible. Resp. [Doc. No.

237] at 54 n.16. Because the evidence at trial consistently showed that Mr. Glover “did

not intend to kill Mrs. Baskin,” the Government argues, he “did not use any facilities of

interstate commerce to facilitate a murder for hire.” Id. In reply, Defendant claims that

this decision “defies logic,” because “[i]f [Defendant] is the Ying [sic] of the murder-for-

hire, Mr. Glover was the Yang.” Reply [Doc. No. 240] at 6. But Defendant does not

engage with the consistent evidence that Mr. Glover never intended to murder Mrs.

Baskin. Nevertheless, the Court considers the materiality of the purported immunity

agreements below.

              10.    JoAnne Green

       Defendant next alleges a Giglio violation with respect to the zoo’s veterinarian,

Dr. JoAnne Green. He claims the Government threatened Dr. Green with arrest if she did

not testify. He cites a recording between Mr. Garretson and an unidentified caller. In

this call, Mr. Garretson said: “But see, [Dr. Green] told the government she’s not going to

go, and the government was like, cause I was there . . . they called her and said if you

don’t go, you’re going to get arrested.” Def.’s Ex. 43 [Doc. No. 232-43] at 5. At its core,


                                            55
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 56 of 73




Defendant’s argument appears to be that the Government violated Giglio by subpoenaing

Dr. Green’s testimony. He has provided no analysis showing that fact of Dr. Green’s

subpoena satisfies any part of the Brady/Giglio analysis.

               11.     James Garretson

       Defendant next claims the Government failed to disclose its purported immunity

agreement with Mr. Garretson. He cites only one conversation with particularity—Mr.

Garretson’s post-conviction interview with the FBI. 50 In that interview, he claims that

former AUSA “Amanda Green told [him] that [he] wouldn’t be charged for this lemur.”

Def.’s Ex. 152 [Doc. No. 232-150] at 6. But in this same interview, he also states he

“was never given immunity,” and that he “was told until the day [he] was going to court

that [he] could still be charged for the lemur.” Id. at 6, 24. The Government cites to five

other instances where Mr. Garretson denied receiving immunity. 51                  Mr. Garretson

testified at trial that he did not receive immunity, see Tr. at 579:19–23, even for the

lemur, see id. at 580:7–23.        Accordingly, the Court finds the contention that Mr.


50
   Defendant describes this call as taking place on “December 2, 2021.” Mot. [Doc. No. 232] at
57. In the cited exhibit, however, the FBI agent states, “The time is 1:36 on Friday, January 7th
[inaudible 00:00:27].” Def.’s Ex. 152 [Doc. No. 232-150] at 1. Regardless, it is clear the
interview took place after Defendant’s trial. See, e.g., id. at 24 (referencing the “resentencing on
[January] 28th[, 2022]”).
51
   See Def.’s Ex. 8 [Doc. No. 232-8] at 46 (telling Defendant’s post-conviction counsel: “I never
had any immunity agreement or nothing. I have no immunity.”); Def.’s Ex. 9 [Doc. No. 232-9] at
2, 43 (telling Defendant’s post-conviction counsel: “I never had immunity. . . . They’d bring up
the lemur all the time, ‘Well, we can still charge you for the lemur, we can charge you.’ And
then up until the Saturday before trial when we were at the trial prep I was told I could still be
charged. . . . I was nervous at the fact that I don’t have immunity.”); Def.’s Ex. 30 [Doc. No.
232-30] at 1 (“I have no immunity.”); Def.’s Ex. 91 [Doc. No. 232-91] at 5 (“I didn’t even get
fucking immunity.”); Def.’s Ex. 105 [Doc. No. 232-105] at 4 (“[T]he government gave me no
immunity. I was granted no protection from the government.”).

                                                56
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 57 of 73




Garretson did receive immunity to be wholly incredible. Additionally, Mr. Garretson’s

statement to the FBI is cumulative, and therefore its impeachment value is slight. At

trial, defense counsel cross-examined Mr. Garretson about the fact that he had not been

prosecuted for the illegal lemur purchase. Id. at 580:7–23.

              12.        John Finlay

       As previously discussed, Defendant claims Agent Bryant coerced Mr. Finlay into

testifying. The Brady section of the Motion includes the following argument, without

further analysis or elaboration: “During trial, John Finley [sic] was never asked if he was

provided immunity, nor was it questioned on cross examination by trial defense counsel.

However, newly discovered evidence indicates Finlay was coerced into testifying.

(Exhibits 21, 153, 163 and 171.).” Mot. [Doc. No. 232] at 57. Defendant has not

addressed any of the three Brady/Giglio elements and has therefore not shown his

entitlement to relief.

               13.       Jeff and Lauren Lowe

       Finally, Defendant urges the Court to find a Giglio violation on the basis that the

Government did not identify its immunity agreements with the Lowes. Neither the

prosecution nor the defense called Mr. Lowe to testify at trial, so the materiality of his

purported immunity agreement is unclear (nor does Defendant attempt to elucidate it).

       Defendant also claims that Mrs. Lowe, who testified during the Government’s

case-in-chief, had an immunity agreement. His sole piece of support is a phone call

between Mrs. Lowe and Agent Bryant, although the transcript appears to omit the




                                            57
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 58 of 73




beginning of the exchange. 52 See Def.’s Ex. 137 [Doc. No. 232-136]. The transcript

begins with Agent Bryant saying:

          But no don’t read into all that crap. There’s nothing. Mark’s deal was his
          boss’ [sic] just wanted to know, the city council just wanted to know, what
          his status was. He had a subpoena and Jeff and I talked last night and Jeff
          may still get one, but they’re waiting to see this kind of a chess game.
          They’re just waiting to see what the defense does, Jeff and I talked that out
          for quite a while last night, so y’all are in good shape.

Id. at 1. Later he tells Mrs. Lowe, “Don’t freak out because there’s, y’all are in good

shape,” and “Let it go because that deal yesterday. It all worked out. . . . So don’t read

into anything if you didn’t hear it from me, it ain’t right so.” Id. at 1–2. Defendant

provides no additional context to the recording, which does not by itself establish the

existence of an immunity agreement. Nor does he engage with the applicable legal

analysis.

                 14.    Cumulative Effect

          Finally, the Court considers the cumulative impact of Defendant’s Brady/Giglio

claims in light of the entire record. As articulated above, Defendant must establish the

three Brady/Giglio elements by a preponderance of the evidence. For most of his claims,

he makes no attempt to address the elements and has therefore not established a

Brady/Giglio violation. See Moya, 5 F.4th at 1193. Similarly, several of the claims rely

on speculation or cite to evidence that was in fact disclosed. But even upon review of his

more detailed claims, it is clear Defendant’s “trial result[ed] in a verdict worthy of

confidence.” Fontenot, 4 F.4th at 1080 (quoting Strickler, 527 U.S. at 290); see also


52
     Defendant cites to Exhibit 126, but he quotes from Exhibit 137.

                                                 58
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 59 of 73




United States v. Agurs, 427 U.S. 97, 112–13 (1976) (“If there is no reasonable doubt

about guilt whether or not the additional [evidence] is considered, there is no justification

for a new trial.”). For example, evidence about Ms. Medina’s recollection of the “bike

path” conversation and Mr. Glover’s purported immunity agreement are relevant to the

two murder-for-hire counts. But Defendant has failed to show that this evidence is

material—i.e., that “there is a reasonable probability that, had the evidence been

disclosed, the result of the proceeding would have been different.” Cordova, 25 F.4th at

826 (quoting Cain, 565 U.S. 73, 75 (2012).

       To find the Defendant guilty of murder-for-hire, the jury had to find beyond a

reasonable doubt that Defendant: (1) “either (i) traveled in or caused another person to

travel in interstate commerce or (ii) used or caused another person to use the mail or any

facility of interstate commerce”; (2) “did so with the intent that a murder be committed in

violation of the laws of any State or of the United States; and”; (3) intended the murder

“be committed either (i) as consideration for the receipt of anything of pecuniary value or

(ii) as consideration for a promise or agreement to pay anything of pecuniary value.”

Jury Instructions [Doc. No. 114] at 31.

       Defendant claims “the first murder for hire count depended almost entirely on

Glover’s testimony; without it there could have been no indictment and no evidence to

carry the case to the jury.” Mot. [Doc. No. 232] at 56. But this argument ignores the

strongest, most credible evidence against Defendant—his own words. Even assuming the

jury discounted Mr. Glover’s credibility, the Court’s confidence in the outcome of the




                                             59
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 60 of 73




trial is not undermined because Defendant’s statements provide overwhelming, powerful

evidence of his guilt.

       To be sure, several aspects of Mr. Glover’s testimony implicated the first

element—that Defendant “traveled in or caused another person to travel in interstate

commerce,” or that he “used or caused another person to use the mail or any facility of

interstate commerce.” Jury Instructions [Doc. No. 114] at 31. For example, Mr. Glover

testified that he gave his personal phone to Defendant.       Additional testimony from

Inspector Hess and Mrs. Lowe confirm that his phone was then mailed to Las Vegas as

part of the scheme Defendant told Mr. Garretson about. Mr. Glover also testified that

Defendant used the pizza phone to take photos of Mrs. Baskin to ensure that he killed the

right person. While his testimony would have been sufficient to satisfy the first element,

it was not necessary.

       Instead, it was enough for the jury to believe that Defendant “caused another

person to travel in interstate commerce.” Jury Instructions [Doc. No. 114] at 31. And the

most credible evidence presented at trial with regard to the first element was on this

point. Mr. Finlay testified that he took Mr. Glover from Oklahoma to Dallas to get a fake

ID at a sign shop. When asked about the purpose of this trip, Mr. Finlay said Defendant

directed him to “tak[e] Alan [Glover] down there to get a fake ID so he could go take

care of Carole.” Tr. at 758:14–17. Special Agent Markley visited the same shop a few

days later, id. at 11:19—113:10, and the prosecution introduced evidence of Mr. Glover’s

ID photo from the sign shop, see Govt.’s Ex. 15 [Doc. No. 232-15]. The jury also heard a

surreptitiously recorded a conversation from November 7, 2017, in which Mr. Garretson


                                           60
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 61 of 73




asked Defendant whether Mr. Finlay could be trusted to be “pretty quiet about

everything.” Govt.’s Ex. 2 [Doc. No. 237-2] at 1. Defendant answered, “Yeah, he damn

sure don’t want to be implicated in it, you know somebody that drove to go get the fake

ID for it.” Id. Finally, Defendant called Mr. Finlay from federal prison after his arrest.

That recorded call included the following exchange:

      MALDONADO: And just so you, know Jeff is coming after you too.
      FINLAY: For what?
      MALDONADO: For taking Alan to get that ID in Texas.
      FINLAY: I already, I’ve already explained all that.
      MALDONADO: To who?
      FINLAY: To the FBI.
      MALDONADO: And what did ya explain.
      FINLAY: Just what went on.
      MALDONADO: That he…he needed it to go to Florida?
      FINLAY: Yeah.
      MALDONADO: Oh, so, so you hung me out to dry? …… Huh?
      FINLAY: No I told the fucking truth, and
      MALDONADO: Well what…
      FINLAY: …and fucking Jeff was in, in my explanation too.
      MALDONADO: Well why am I the one in trouble?

Govt.’s Ex. 14 [Doc. No. 237-14] at 2–3 (alterations in original). Defendant makes no

attempt to explain the materiality of Mr. Glover’s testimony in light of his own words.

      Second, the Government had to prove beyond a reasonable doubt that Defendant’s

actions in the first element—traveling or causing someone “to travel in interstate

commerce,” or using or causing someone “to use the mail or any facility of interstate

commerce”—were done “with the intent that a murder be committed.” Jury Instructions

[Doc. No. 114] at 31. Ms. Medina’s testimony would have been relevant to the issue of

intent. But her account, which is largely consistent with Mr. Garretson’s trial testimony,

would have been primarily cumulative. And to the extent it omitted a detail that Mr.


                                            61
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 62 of 73




Garretson’s account included, there was other evidence in the record corroborating Mr.

Garretson’s testimony.     Mr. Glover’s testimony was also relevant to the issue of

Defendant’s intent. For example, he testified that Defendant asked him whether he could

“get it done,” Tr. at 622:4–9, claimed that he and Defendant discussed different ways of

killing Mrs. Baskin, id. at 624:14–23, and showed him the paths where she walked “that

would probably be a good place to do it,” id. at 625:22–626:1.

       But again, the most credible and damning evidence of Defendant’s intent was his

own words. In addition to the evidence recounted on the first element, Defendant also

told Mr. Garretson:

       Yeah, what I am doing is having him buy a go-phone down there and Jeff is
       buying a go-phone so they can communicate and then throw them away.
       And we are going to over-night his phone to Vegas and Jeff is gonna text
       pictures every once in a while back to the staff so that way his phone
       registers in Vegas. . . . As long as he don’t get caught red-handed, I think, I
       think we got this. . . . But if they bust him red-handed, me and Jeff are just,
       we got our story down to where we fired the motherfucker and he just went
       off the deep end.

Govt.’s Ex. 2 [Doc. No. 237-2] at 1–2. On a separate phone call on November 17, 2017,

Mr. Garretson floats the idea of bringing in a different hitman. See Govt.’s Ex. 5 [Doc.

No. 237-5] at 1. Defendant asks, “How much? How much does he want down?” Id. at 2.

He then tells Mr. Garretson, “Oh yeah. Yeah. See, what I was gonna do is send him with

four and then give him six when it was done. So if your guy wants to do . . .” Id. (ellipses

in original). In a February 11, 2018 phone call between Defendant and Mr. Garretson,

Defendant tells Mr. Garretson, “The last guy went to North Carolina [sic] and drank it




                                             62
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 63 of 73




all.” Govt.’s Ex. 11 [Doc. No. 237-11] at 1. And on March 3, 2018, Mr. Garretson

recorded the following exchange with Defendant:

       GARRETSON: Yeah. Just whenever we get our head above water you
       know, we’ll go down and take

       MALDONADO: Tell ya what…

       GARRETSON: He’ll go take care of her.

       MALDONADO: You really think you can trust him?

       GARRETSON: Oh fucking 100%.

       MALDONADO: That one of Jeff’s run off with my money and never heard
       from him again.

Govt.’s Ex. 12 [Doc. No. 232-12] at 1. Similarly, they had the following recorded

exchange ten days later:

       GARRETSON: So I didn’t know if we wanted to pursue with the Baskin
       shit.

       MALDONADO: …[inaudible]… He said he’d take care of Florida for 10 .
       ...

       MALDONADO: How well you trust that guy?

       GARRETSON: I’ve done some shit with him. He’s not like that other
       dipshit, he’s . . .

       MALDONADO: He took four thousand bucks and never came back.

Govt.’s Ex. 13 [Doc. No. 237-13] at 1 (second alteration in original). Defendant again

makes no attempt to explain the materiality of either Mr. Glover or Ms. Medina’s

testimony in the context of the entire trial record.

       Finally, the prosecution had to prove Defendant intended the murder “be

committed either (i) as consideration for the receipt of anything of pecuniary value or (ii)



                                              63
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 64 of 73




as consideration for a promise or agreement to pay anything of pecuniary value.” Jury

Instructions [Doc. No. 114] at 31. At trial, Mr. Glover testified that Defendant paid him

$3,000, which he received from selling a liliger. 53 Tr. at 637:4–6; 641:15–16. But, once

again, Defendant’s testimony is by far the strongest evidence that he paid Mr. Glover to

carry out Mrs. Baskin’s murder. In addition to the excerpts included above, Defendant

had the following exchange with Mr. Garretson on November 7, 2017:

          GARRETSON: Damn, that’s crazy. Ok, cool. Hey, did you get everything
          else handled? Everybody’s gone away or you got all that handled?

          MALDONADO: I’m waiting on, ah. [inaudible]. Waiting on, waiting on
          this lady to get this money for these liligers cause that is what I am paying
          for it with. Supposed to be here either tonight or first thing here tonight or
          in the morning.

          GARRETSON: Gotcha.

          MALDONADO: And all of the bills came from Florida, so, as long as I
          don’t touch them and he gets busted with it on when … I hope that they are
          all 100 dollar bills out of a bank in Florida.

Govt.’s Ex. 2 [Doc. No. 237-2] at 1.

          Upon careful review of the entire trial record, the Court does not find the

Brady/Gilgio evidence to be material. To be clear, this conclusion is not based on the

fact that there was sufficient evidence in the record to convict Defendant. Instead, “no

Brady violation occurred because there was sufficiently strong evidence on the counts of

conviction to sustain our confidence in the jury’s verdict despite the absence of the

impeachment evidence” against Mr. Glover, and Ms. Medina’s testimony about the bike

path conversation. Reese, 745 F.3d at 1084 n.6. The fact that Defendant’s Motion does


53
     As explained above, Mr. Glover has recanted this testimony.

                                                64
         Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 65 of 73




not engage with the most damning evidence against him is telling.                  Contrary to

Defendant’s assertion, his conviction did not hinge on Mr. Glover’s credibility. Nor did

this case present a close call. 54 Defendant has not shown that the evidence “could

reasonably be taken to put the whole case in such a different light as to undermine

confidence in the verdict.” Kyles, 514 U.S. at 435. Accordingly, it does not entitle him

to a new trial.

         C.       Napue Violations

         A conviction obtained through the prosecutor’s knowing use of false testimony

violates a defendant’s due process rights. Napue, 360 U.S. at 269. To obtain a new trial

based on a Napue violation, a defendant must establish that “(1) a government witness

committed perjury, (2) the prosecution knew the testimony to be false, and (3) the

testimony was material.” United States v. Garcia, 793 F.3d 1194, 1207 (10th Cir. 2015).

Napue’s materiality standard is less demanding than Brady’s: testimony is material

“unless failure to disclose [the perjury] would be harmless beyond a reasonable doubt.”

Id. (alteration in original) (quoting United States v. Bagley, 473 U.S. 667, 680 (1985)). It

is immaterial whether the perjured testimony “is relevant to substantive issues or to

witness credibility only.” United States v. Caballero, 277 F.3d 1235, 1243 (10th Cir.

2002).




54
  The jury returned a guilty verdict on all 19 counts after just a few hours of deliberation. See
[Doc. No. 112].

                                               65
          Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 66 of 73




                1.    James Garretson

       Defendant claims that the Government knowingly failed to correct several

instances of perjury with respect to James Garretson. First, when prosecutors asked Mr.

Garretson whether he gave Agent Bryant “all the conversations that [he] w[as] able to

record,” Mr. Garretson responded, “Yes.” Tr. at 553:23–25. Defendant contends that

Agent “Bryant knew Garretson was lying and he failed to correct the untruthful

testimony.” Mot. [Doc. No. 232] at 59. He argues that Agent Bryant’s knowledge is

enough, relying on United States v. Buchanan, 891 F.2d 1436, 1442 (10th Cir. 1989).

But Buchanan stands for the proposition that “[k]nowledge by police or investigators is

therefore imputed to the prosecution under Brady.” Id. This is not the case for Napue

claims.      See Smith, 50 F.3d at 831 (imputing detective’s personal knowledge to

prosecution for Brady purposes, but finding it insufficient for Napue claim). Assuming

the testimony is false, Defendant presents no evidence that the prosecution knew of its

falsity. Accordingly, he is not entitled to relief.

       Next, Defendant alleges that Agent “Bryant was present in the court room when

Garretson testified” that Mr. Lowe and Defendant were present for the “bike path”

conversation, and that “Bryant knew this testimony to be untrue.” Mot. [Doc. No. 232] at

19. But again, he fails to provide any indication that prosecutors knew about Ms.

Medina’s presence at the meeting.          Accordingly, he has not established a Napue

violation.

       Finally, Defendant contends Mr. Garretson lied about other people’s knowledge of

his cooperation at trial. He testified:


                                              66
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 67 of 73




       Q. (By Ms. Maxfield-Green) Okay. Mr. Garretson, we were talking about
       the fall of 2017 when you started recording conversations for the
       Government, correct?

       A. Correct.

       Q. And in the fall of 2017, did anybody outside of law enforcement know
       that you were cooperating with the Government?

       A. No.

Tr. at 556:19–25. Defendant now contends “that the government knew this statement

made under oath was false,” and that “Medina, Lowe, Lauren Lowe, Howard Baskin and

Malagerio all knew Garretson was working with the Government” at this time. Mot.

[Doc. No. 232] at 21–22. He then cites, without particularity, 293 pages of exhibits.

Upon review, none of the evidence supports the contention that prosecutors knew that Mr.

Garretson’s trial testimony was false. At best, the evidence implicates Agent Bryant’s

knowledge which, again, is insufficient under Napue.

                2.   Lauren Lowe

       Defendant claims that “[Agent] Bryant knew Lauren Lowe’s testimony regarding

Beth Corley was false, yet he let it stand uncorrected.” Mot. [Doc. No. 232] at 32. Even

making the generous assumption that this testimony would qualify as perjury, the Napue

claim still fails. Defendant only contends that Agent Bryant knew about the purported

falsity, and his knowledge is not sufficient to show a violation of Napue.

                3.   Allen Glover

       Defendant next claims the prosecution “w[as] aware it was not Engesser who

conducted the cub sale in order to have money exchanging hands.” Mot. [Doc. No. 232]

at 60. But again, the only cited exhibit to support this claim involves Agent Bryant

                                            67
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 68 of 73




telling the Lowes he “do[esn’t] believe it was Engesser” who purchased the cub. Def.’s

Ex. 128 [Doc. No. 232-128] at 15. Agent Bryant’s subjective belief is not sufficient to

establish a Napue violation.

       Defendant then states, in conclusory fashion, that the prosecution was “aware

Lowe was manipulating calls and texts with Glover.” Mot. [Doc. No. 232] at 60. His

lone citation for this proposition is a call between Agent Bryant and the Lowes, in which

Mrs. Lowe says Mr. Glover “will bend over backwards for us. . . . [H]e would do

anything for us.” 55 Def.’s Ex. 107 [Doc. No. 232-107] at 47–48. Defendant makes no

attempt to satisfy any of the Napue elements, and his claim appears to be completely

meritless. Accordingly, it warrants no further discussion.

       D.      Misconduct Allegations

       Finally, Defendant raises two challenges involving the Government’s conduct

during the investigation.

               1.     Outrageous Government Conduct

       First, he urges the Court to find that the prosecution’s behavior was “so outrageous

that due process principles would absolutely bar the government from invoking judicial

processes to obtain a conviction.” 56 Mot. [Doc. No. 232] at 46 (quoting United States v.


55
  Defendant provides no pinpoint citation to this 106-page exhibit. Although his brief includes
quoted language, the quote appears nowhere in the exhibit. The quote provided by the Court
appears to be what Defendant is referencing.
56
  As an initial matter, the Court is skeptical that Defendant’s argument is procedurally proper in
the context of his Rule 33 motion. Because the outrageous government conduct defense “would
absolutely bar the government from invoking judicial processes to obtain a conviction,” United
States v. Russell, 411 U.S. 423, 431–32 (1973), the typical remedy is dismissal of an indictment,
see, e.g., United States v. Varnell, No. 20-6040, 2021 WL 5875718 (10th Cir. Dec. 13, 2021), at

                                               68
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 69 of 73




Russell, 411 U.S. 423, 431–32 (1973)). “When the government’s conduct during an

investigation is sufficiently outrageous, the courts will not allow the government to

prosecute offenses developed through that conduct because [doing so] would offend the

Due Process Clause of the Fifth Amendment.” United States v. Wagner, 951 F.3d 1232,

1253 (10th Cir. 2020) (alteration in original) (quoting United States v. Pedraza, 27 F.3d

1515, 1521 (10th Cir. 1994)).        But “[t]he outrageous conduct defense . . . is an

extraordinary defense that will only be applied in the most egregious circumstances.”

Pedraza, 27 F.3d at 1521. Indeed, its viability has been called into question, and it “has

never been applied by [the Tenth Circuit] to strike down a conviction.” United States v.

Varnell, No. 20-6040, 2021 WL 5875718, at *3 (10th Cir. Dec. 13, 2021). “To prove

outrageous government conduct, the defendant must show ‘either (1) excessive

government involvement in the creation of the crime, or (2) significant governmental

coercion to induce the crime.’” Wagner, 951 F.3d at 1253 (quoting United States v. Dyke,

718 F.3d 1282, 1288 (10th Cir. 2013)).

       Pursuant to Rule 33(b), Defendant is only entitled to relief on the basis of newly

discovered evidence. While that evidence may take different forms—e.g., a recantation,

Brady violation, or Napue violation—it must still form the basis for relief under the rule.

*3 (reviewing denial of motion to dismiss indictment); United States v. Wagner, 951 F.3d 1232,
1254 (10th Cir. 2020) (same); United States v. Pedraza, 27 F.3d 1515, 1521 (10th Cir. 1994)
(same); see also United States v. Harris, 997 F.2d 812, 816 (10th Cir. 1993) (“[D]istrict courts
have only utilized the defense a handful of times to dismiss charges.” (emphasis added)); United
States v. Lacey, 86 F.3d 956, 963 (10th Cir. 1996) (recognizing the defense “generally prevents
the government from prosecuting a crime developed through egregious investigatory tactics,” but
that it may also “warrant a downward departure from the sentencing guidelines”). In contrast,
Defendant invokes the defense as a mechanism for a new trial. This relief, as the Government
points out, “is fundamentally irreconcilable” with the assertion that the government is barred
from invoking the judicial process. Resp. [Doc. No. 237] at 58.

                                              69
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 70 of 73




But most of Defendant’s arguments have no connection to newly discovered evidence.

For example, he argues that his statements were exaggerations, and that he “made no

serious expression of an intent to commit an act of unlawful violence to Ms. Baskin prior

to government involvement.” Mot. [Doc. No. 232] at 48–49. Similarly, he claims that

the December 5, 2017 phone call played at trial was insufficient to satisfy “the interstate

nexus required for jurisdiction.” Id. at 51. Neither of these arguments rely on new

evidence, so neither is properly considered in the instant Motion.

       Finally, the arguments which are based on newly discovered evidence are

underdeveloped and merit little discussion.         See, e.g., Mot [Doc. No. 232] at 52

(including quotes with only a citation to “Exhibit xx”). The Motion focuses on the

conduct of third parties and includes conspiratorial accusations without supporting

exhibits. See, e.g., id. (“It is no mere coincidence that Jeff Lowe gets arrested in Las

Vegas, and upon return home to Oklahoma immediately starts working with federal

agents to set [Defendant] up.”); cf. Varnell, 2021 WL 5875718, at *5 (“[W]e must

examine the government’s conduct, not [a paid informant’s] conduct.” (citing United

States v. Doe, 698 F.3d 1284, 1293 (10th Cir. 2012))). Thus, assuming the outrageous

conduct defense is viable and is properly included in the instant Motion, Defendant has

not shown that it is applicable to the facts of this case.

              2.      Prosecutorial Misconduct

       Relatedly, Defendant argues he is entitled to a new trial on the basis of

prosecutorial misconduct. But all four of the cases he cites involve litigants challenging

the constitutionality of their state convictions under 28 U.S.C. § 2254, not pursuing new


                                               70
       Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 71 of 73




trial motions under Rule 33. See Mot. [Doc. No. 232] at 55–56 (citing Matthews v.

Workman, 577 F.3d 1175 (10th Cir. 2009); Dodd v. Trammell, 753 F.3d 971 (10th Cir.

2013); Torres v. Mullin, 317 F.3d 1145 (10th Cir. 2003); Fontenot v. Allbaugh, 402 F.

Supp. 3d 1110 (E.D. Okla. 2019)). Accordingly, these cases are inapposite, and the

Court considers only whether Defendant has shown entitlement to a new trial on the basis

of newly discovered evidence. 57 See Fed. R. Crim. P. 33(b). Defendant admits his

arguments are grounded in newly discovered evidence. See Reply [Doc. No. 240] at 6

(“The bad faith of the AUSAs came to [Defendant]’s attention in June of 2021 when Mr.

Garretson provided post-conviction counsel with the phones used during the

investigation.”). Nevertheless, he makes no attempt to analyze the newly discovered

evidence within the applicable legal framework.

       For example, he alleges that prosecutors twice presented false evidence to the

grand jury. 58 Mot. [Doc. No. 232] at 61. As an initial matter, this claim of misconduct

does not appear to be premised on newly discovered evidence. Defendant’s trial counsel

examined Agent Bryant about this exact issue, including the fact that prosecutors did not

“ask[] [him] any questions in front of the grand jury to advise them that the previous

information they received may have been erroneous.” Tr. at 903:13–911:14. Regardless,

Defendant makes no attempt to explain how this evidence satisfies the Berry test.


57
   Defendant has provided the Court with no authority or reason to depart from the confines of
the five-part Berry test.
58
  Defendant also argues that the Government intentionally suppressed recordings and excluded
Mr. Johnson, an exculpatory witness. Because the Court has already rejected those arguments, it
omits them here.

                                              71
        Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 72 of 73




       Similarly, Defendant alleges the Government allowed Agent Bryant “to send

personal emails to the CI regarding his initial interview.” Mot. [Doc. No. 232] at 61. He

provides no citation for this proposition, nor does he identify any emails that Agent

Bryant send to Mr. Garretson. Because this evidence appears to entirely speculative, he

cannot—nor does he attempt to—analyze it under Berry.

       He next contends prosecutors “demand[ed] souvenirs be collected due to the

defendant’s notoriety,” and kept “a bullseye with the Defendant’s face on it in a

government office.” Id. Although each of these assertions is followed by a lone citation

to an exhibit, he makes no effort to analyze why this evidence entitles him to relief under

the applicable framework—particularly how it is “material to the principal issues

involved” or “of such a nature that in a new trial it would probably produce an acquittal.”

Jordan, 806 F.3d at 1252. Conclusory statements like these are not sufficient to warrant

a new trial.

       Defendant also cites an affidavit sworn by former FBI Special Agent Doug Kouns.

See Def.’s Ex. 144 [Doc. No. 232-142]. But this affidavit, dated February 10, 2022, did

not exist at the time of the trial and is not itself newly discovered evidence. 59 To the

extent Defendant seeks to treat the report as a vehicle to present additional claims for

relief, the Court rejects the tactic as an improper attempt to exceed his page limit.

       Finally, Defendant argues the Government improperly “stood by” the PSR at the

January 28, 2022 resentencing despite the fact that Defendant’s counsel provided

59
  Defendant notes that certain actions could constitute “potential OPR violation[s]” or violations
of DOJ guidelines. Mot. [Doc. No. 232] at 63. It is unclear what relevance those allegations
have in the context of the instant new trial motion.

                                               72
         Case 5:18-cr-00227-SLP Document 248 Filed 11/21/23 Page 73 of 73




undisclosed recordings and “the results of their investigation” on January 25 and 26.

Mot. [Doc. No. 232] at 64.         Defendant makes no attempt to explain how the

Government’s conduct at resentencing—nearly three years after his trial concluded—is

relevant under Rule 33(b).

IV.      Conclusion

         After carefully reviewing each argument properly raised by Defendant, the Court

is confident that the “interest[s] of justice” do not require a new trial. Fed. R. Crim. P.

33(a).     Defendant’s allegations, whether viewed individually or cumulatively, are

incapable of overcoming the strong, credible evidence of guilt set forth in the record.

Contrary to his assertions, Defendant received a fair trial, and the jury returned a

reasonable and just verdict.

         IT IS THEREFORE ORDERED that Defendant’s Motion for New Trial [Doc. No.

232] is DENIED.

         IT IS FURTHER ORDERED that Defendant’s Second Motion for New Trial

[Doc. No. 246] is DENIED.

         IT IS SO ORDERED this 21st day of November, 2023.




                                            73
